                                  Exhibit A




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A4 | Wednesday, February 13, 2019 | SFChronicle.com                                             XXXXX


 WORLD
NIGERIA

Militants’
resurgence
imperils vote
By Haruna Umar                           election victory in which
and Cara Anna                            he promised to tackle
                                         insecurity, corruption
   MAIDUGURI, Nigeria                    and the economy in Afri-
— Baba Inuwa was                         ca’s most populous coun-
pleased to move back to                  try with 190 million peo-
his vegetable farm in                    ple. While he still has
Nigeria’s northeast, en-                 support in most states of
couraged by the mil-                     his native north, enthusi-
itary’s offensive against                asm has dimmed as it
Boko Haram, the coun-                    becomes clear that the
try’s homegrown Islamic                  decade-old extremist
extremist rebels, and by                 insurgency — killing                                                                                                                                                          Joe Klamar / AFP / Getty Images

President Muhammadu                      more than 27,000, ab-                      Slovakia’s Prime Minister Peter Pellegrini (right) greets Secretary of State Mike Pompeo in Bratislava,
Buhari’s claim that the                  ducting hundreds of                        during a five-nation tour that began in Hungary and will take Pompeo to Poland, Belgium and Iceland.
insurgency had been                      schoolgirls, displacing
crushed.
   “We thought all was
                                         millions — is far from
                                         over.
                                                                                    EUROPE

                                                                                    Pompeo warns region on
over and Boko Haram                         Up against Atiku Abu-
can never return,” Inuwa                 bakar, a fellow northern
said. He joined thou-                    Muslim and former vice
sands of others in leaving               president, Buhari could


                                                                                    China, Russia meddling
displacement camps to                    end up like former Presi-
return to their homes.                   dent Goodluck Jonathan,
   But then last month                   who lost in 2015 after his
the extremists rolled into               failure to stop extremism.
Inuwa’s hometown, Baga,                     At first, Nigeria’s mil-
firing into the air, hoist-              itary appeared to deliver                  By Matthew Lee                            gressive role Russia con-                  Huawei’s motives in                       is just trying to suppress
ing flags and claiming it                on Buhari’s inaugural                                                                tinues to play in the re-                  Europe, especially in                     a rising competitor.
as their own. Suddenly                   vow to eliminate Boko                         BRATISLAVA, Slova-                     gion,” particularly in                     NATO and European                            Pompeo said he hoped
residents were on the                    Haram, pushing fighters                    kia — Secretary of State                  Ukraine.                                   Union member states, as                   to reverse what he called
move again, fleeing with                 out of many communi-                       Mike Pompeo on Tues-                         But, he said, “Russia is                well as its business prac-                a decade of U.S. dis-
little more than the                     ties. Residents were                       day invoked the 30th                      not the only nation that                   tices.                                    engagement in Central
clothes on their backs.                  urged to return home.                      anniversary of the de-                    seeks to erode sover-                         “We’re fine with com-                  and Eastern Europe that
On a punishing two-day                      But late last year the                  mise of communism to                      eignty and freedom in                      panies competing, but                     created a vacuum Russia
march through the arid                   Islamic State-linked                       implore countries in                      Europe.”                                   they have got to do so in a               and China have exploit-
Sahel, some pregnant                     extremists roared back,                    Central and Eastern                          Pompeo said he had                      way that’s fair and open                  ed. Over the course of the
women miscarried and                     attacking military bases,                  Europe to resist Chinese                  raised with Slovak offi-                   and transparent, and                      past 10 years, he said,
other elderly people died.               resupplying and causing                    and Russian influence.                    cials the “need to guard                   they can’t do so with                     Russian President Vladi-
   Nigeria’s government                  a rare government admis-                      Speaking in the Slovak                 against China’s economic                   anything other than an                    mir Putin and Chinese
now acknowledges an                      sion of dozens of soldier                  capital of Bratislava,                    and other efforts to cre-                  economic motive,” he                      leaders have become
extremist resurgence,                    deaths. Shaken, officials                  Pompeo said China and                     ate dependence and ma-                     said.                                     much more aggressive in
this time by a Boko Ha-                  said the extremists had                    Russia pose twin threats                  nipulate your political                       Pompeo said nations                    the region and made
ram offshoot, the Islamic                begun using drones,                        to the democratic and                     system.”                                   would have to consider                    inroads.
State West Africa Prov-                  indicating links with ISIS                 free-market gains made                       Pompeo is in Slovakia                   choosing between Hua-                        “I want to make sure
ince, the Islamic State                  fighters fleeing collapsing                since the fall of the Berlin              on the second leg of a                     wei and the United                        that the Slovakian people
group’s largest presence                 strongholds in Syria and                   Wall in 1989.                             five-nation European                       States. The warning was                   understand that America
outside the Middle East,                 Iraq.                                         He said the post-com-                  tour that began in Hun-                    broad but pointedly de-                   is engaged, we’re back,”
estimated to have more                      “ISIS now has a strong                  munist countries are                      gary and will take him to                  livered first in Hungary, a               he said earlier at a cere-
than 3,000 fighters. Their               foothold in West Africa,                   particularly vulnerable to                Poland, Belgium and                        NATO ally and European                    mony at Slovakia’s “Gate
near-daily attacks have                  with Nigeria in the fore-                  Chinese and Russian                       Iceland.                                   Union member, where                       of Freedom,” a memorial
many traumatized Nige-                   front of the battle,” In-                  predatory investment                         He renewed a warning                    Huawei is a major player.                 on the banks of the Mora-
rians questioning wheth-                 formation Minister Lai                     and political meddling.                   he delivered on Monday                        The U.S. has been                      va River at the Slovakian
er they can vote for Buha-               Mohammed declared last                     To combat the threat, he                  in Budapest that the                       warning countries about                   border with Austria that
ri as he seeks a second                  week. The fighters are                     said, the United States is                United States may be                       the risks of Chinese tele-                commemorates the 400
term.                                    more worrying than                         committed to boosting its                 forced to scale back cer-                  com technology as gov-                    people killed at the bor-
   Others question how                   Boko Haram and at least                    engagement in the re-                     tain operations in Europe                  ernments choose provid-                   ders of the former
the elections can be held                triple its size, the U.S.                  gion, through defense                     and elsewhere if coun-                     ers for the rollout of 5G                 Czechoslovakia while
in the troubled northeast                Africa Command chief                       cooperation agreements                    tries continue to do busi-                 wireless internet, which                  attempting to escape the
region. The National                     has said.                                  and exchange programs.                    ness with Chinese tele-                    will enable faster down-                  Iron Curtain between
Assembly has approved a                     Some 59,000 people                         He said because of its                 communications compa-                      load speeds but also                      1945 and 1989.
record $147 million for                  have fled attacks since                    history and geography,                    ny Huawei.                                 greater connectivity
election security but                    November, the U.N. mi-                     Slovakia has “a special                      He said the U.S. had                    among devices.                            Matthew Lee is an
some polling workers in                  gration agency says.                       appreciation for the ag-                  strong concerns about                         China has said the U.S.                Associated Press writer.
remote areas have reject-                now-deserted border
ed their posts in fear of                town of Rann was hit
being attacked. The op-
position objects that
                                         twice last month.
                                            As many as 39 attacks
                                                                                    FRANCE
                                                                                    Anti-Semitic acts hit amid protests
voting will be held in                   were recorded in Borno
government-controlled                    and Yobe states last
camps, which in “liberat-                month, the U.N. refugee
ed” communities are the                  agency says.
safest locations.                                                                   By Samuel Petrequin
   Buhari, a former mil-                 Haruna Umar and Cara
itary dictator, returned to              Anna are Associated Press                                                            PARIS — Portraits of a
power in 2015 with an                    writers.                                                                          Holocaust survivor
                                                                                                                           stained with swastikas. A
                        United States Bankruptcy Court for the Northern District of California
                                                                                                                           memorial in honor of a
Debtors: PG&E Corporation and Pacific Gas and Electric Company                                                             Jewish man vandalized.
Datecasesfiledinchapter11: 01/29/2019
Casenumber: 19-30088(DM)(LeadCase;JointlyAdministered)
                                                                                                                           A  bagel shop with the
Notice of Chapter 11 Bankruptcy Cases                                                                                      German word “Juden”
    For the debtors listed above, cases have been filed under chapter 11 of the Bankruptcy Code and orders for relief      sprayed on its front win-
have been entered.This notice has important information about the cases for creditors,debtors,and trustees,including
informationaboutthemeetingofcreditorsanddeadlines.                                                                         dow.
    The filing of the cases imposed an automatic stay against most collection activities. This means that creditors
generally may not take action to collect debts from the debtors or the debtors’property. For example,while the stay
                                                                                                                              These are just a few of
is in effect, creditors cannot sue, assert a deficiency, repossess property, or otherwise try to collect from the debtors. the hundreds of anti-
Creditors cannot demand repayment from the debtors by mail,phone,or otherwise.Creditors who violate the stay can
berequiredtopayactualandpunitivedamagesandattorney’sfees.
                                                                                                                           Semitic acts that have
    Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular         been committed in recent
debt excepted from discharge may be required to file a complaint in the bankruptcy clerk’s office within the deadline
specifiedinthisnotice.(Seeline11belowformoreinformation.)                                                                  months in France, home
    To protect your rights, consult an attorney. All documents filed in the cases may be inspected at the bankruptcy       to the world’s largest
clerk’sofficeattheaddressbeloworthroughPACER(PublicAccesstoCourtElectronicRecordsatwww.pacer.gov).
    Thestaffofthebankruptcyclerk’sofficecannotgivelegaladvice.Donotfilethisnoticewithanyproof                              Jewish population out-
ofclaimorotherfilinginthecases.
    1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation,77 Beale Street,P.O.Box 77000,
                                                                                                                           side Israel and the United
San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Pacific Gas and Electric Company, 77 Beale Street, P.O.        States.
Box 77000,San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.
    2. All other names used in the last 8 years: n/a                                                                          According to French
    3. Address: See above                                                                                                  authorities, registered                                                                           Michel Euler/Associated Press
    4. Debtors’ Attorneys: Tobias S.Keller (#151445), KELLER & BENvENUTTi LLP, 650 California Street, Suite 1900,
San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue,               incidents  of anti-Semi-      A  French    street artist cleans vandalized    mailboxes   with swastikas     covering the
New York, NY 10153. Debtors’ Claims and Noticing Agent: If you have questions about this notice, please                    tism  rose to 541 last  year  face of the late Holocaust survivor and politician Simone Veil, in Paris.
contact Prime Clerk LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email:
pgeinfo@primeclerk.com. Website: https://restructuring.primeclerk.com/pge                                                  from 311 in 2017, an in-
    5. Bankruptcy clerk’s office: U.S.Bankruptcy Court,450 Golden Gate Avenue,Mail Box 36099,San Francisco,                crease of 74 percent.         like a venom,” Interior         views, and several anti-          “When the hatred of
CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT). Contact phone: 888-821-7606. Documents in
these cases may be filed at this address. You may inspect all records filed in these cases at this office or online at        “These acts are revolt-    Minister Christophe             Semitic incidents have         the Jews overlaps with
www.pacer.com.
    6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton                    ing,” Prime Minister          Castaner said while at-         occurred amid weekly           the hatred of democracy,
Federal Building and U.S.Courthouse,450 Golden Gate Avenue,2nd Floor,California Conference Room,San Francisco,             Edouard Philippe said at      tending a ceremony at the antigovernment protests              the vocabulary of the
CA 94102.The debtors’representative must attend the meeting to be questioned under oath.Creditors may attend,
but are not required to do so. The meeting may be continued or adjourned to a later date. if so, the date will be on       the French parliament on memorial of a young                  that started in November. fachosphere (the sphere
the court docket.
    7. Proof of claim deadline: Deadline for filing proof of claim: To Be Determined. A proof of claim is a
                                                                                                                           Tuesday. “Day after day,      Jewish man who was                 Frederic Potier, a          of fascists) is found on
signed statement describing a creditor’s claim. A proof of claim form may be obtained at www.uscourts.gov or any           I’m noticing scandalous       tortured to death in 2006. French government offi-             the walls,” Potier wrote.
bankruptcy clerk’s office. Your claim will be allowed in the amount scheduled unless: • your claim is designated
as disputed, contingent, or unliquidated; • you file a proof of claim in a different amount; or • you receive another
                                                                                                                           degradation and inscrip-      Two trees planted at the        cial in charge of fighting        In addition to the dese-
notice. if your claim is not scheduled or if your claim is designated as disputed, contingent,or unliquidated,you must     tions. Day after day, I’m     scene where Ilan Halimi         anti-Semitism, racism          cration of the Ilan Halimi
file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.You may file a
proof of claim even if your claim is scheduled.You may review the schedules at the bankruptcy clerk’s office or online     noticing that symbols         was found dying in a            and anti-gay discrim-          memorial, portraits of the
at www.pacer.gov. Secured creditors retain rights in their collateral regardless of whether they file a proof of claim.    and venues our country        Paris suburb have been          ination, said some far-        late Simone Veil drawn
Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court,with consequences a lawyer can
explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,            cherishes are attacked.”      vandalized.                     right groups have man-         on mailboxes were
including the right to a jury trial.
    8. Exception to discharge deadline: You must start a judicial proceeding by filing a complaint if you want to
                                                                                                                              A  judicial official said     “It’s rotting minds,  it’s   aged  to infiltrate yellow-    daubed with swastikas. A
have a debt excepted from discharge under 11 U.S.C.§ 1141(d)(6)(A).The bankruptcy clerk’s office must receive a com-       Paris prosecutors have        killing,” Castaner said at      vest demonstrations.           survivor of Nazi death
plaintandanyrequiredfilingfeebythefollowingdeadline. Deadlineforfilingthecomplaint:ToBeDetermined
    9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a foreign address,you may        opened   four  investiga-     the Monday     event, vow-         “Anti-Semitic   tags up     camps   and a European
file a motion asking the court to extend the deadlines in this notice.Consult an attorney familiar with United States      tions following incidents     ing that the government         to nausea in the heart of      Parliament president
bankruptcy law if you have any questions about your rights in these cases.
    10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according                in the French capital last    would fight anti-Semi-          Paris this weekend,”           who died in 2017, Veil also
to a plan. A plan is not effective unless the court confirms it. You may receive a copy of the plan and a disclosure
statement telling you about the plan, and you may have the opportunity to vote on the plan.You will receive notice
                                                                                                                           weekend.   The   official was tism.                           Potier  tweeted   with a       spearheaded abortion
of the date of the confirmation hearing, and you may object to confirmation of the plan and attend the confirma-           not authorized to be pub-        Castaner did not link        picture of a wall with a       rights as one of France’s
tion hearing. Unless a trustee is serving, the debtors will remain in possession of the property and may continue to
operate their business.
                                                                                                                           licly named because the       the rise of incidents to        derogatory inscription,        most prominent female
    11. Discharge of debts: Confirmation of a chapter 11 plan may result in a discharge of debts,which may include         investigations are ongo-      any specific groups.            insinuating that French        politicians.
all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt
from the debtors except as provided in the plan.if you want to have a particular debt owed to you excepted from the        ing.                          Some members of the             President Emmanuel
discharge under 11 U.S.C.§ 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and paying the           “Anti-Semitism is          yellow vest movement are Macron was just a tool of             Samuel Petrequin is an
filing fee in the bankruptcy clerk’s office by the deadline.
                                                                  Case: 19-30088 Doc#                                      spreading
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                                                                                                                                            a poison,    knownEntered:
                                                                                                                                                    02/20/19                   02/20/19a supposed
                                                                                                                                                                   for extremist           18:38:39    Jewish  plot. 3 Associated Press writer.
                                                                                                                                                                                                             Page
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                                  Exhibit B




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    B6 | Wednesday, February 13, 2019                                                                                                                                                                                                                                                              THE WALL STREET JOURNAL.


                                                                                                                                                                 BUSINESS & FINANCE

    Investor Set to Boost Stake in Coty French Shipping Line
    BY SAABIRA CHAUDHURI                                                                                                                                                                                    Coty’s new chief, Pierre
                                                                                                                                                                                                         Laubies, is from JAB’s execu-
                                                                                                                                                                                                                                                              Aims to Extend Inland
       JAB Ltd. offered to signifi-                                                                                                                                                                      tive stable. He previously ran                       BY COSTAS PARIS                          ator by capacity, spent more
    cantly boost its stake in Coty                                                                                                                                                                       Jacobs Douwe Egberts, which                                                                   than $460 million last year
    Inc. by buying up to $1.75 bil-                                                                                                                                                                      was created in 2014 by the                              CMA CGM is pursuing a                 subscribing into Ceva convert-
    lion in shares, a move intended                                                                                                                                                                      combination of Mondelez In-                          $1.65 billion deal for full con-         ible securities.
    to signal its confidence in the                                                                                                                                                                      ternational Inc.’s coffee busi-                      trol of Swiss-based Ceva Lo-                Ceva stock was trading at
    embattled beauty giant.                                                                                                                                                                              ness with a European coffee                          gistics AG in an effort to add           30.05 francs on the Swiss
       The European holding com-                                                                                                                                                                         company controlled by JAB.                           revenue streams from freight             Stock Exchange on Tuesday.
    pany on Tuesday launched a                                                                                                                                                                              JAB’s offer to buy more                           logistics to its core ocean-             CMA CGM’s offer is about 12%
    tender offer to buy up to 150                                                                                                                                                                        shares is contingent on the                          transportation business.                 above Ceva’s average share
    million Coty shares for $11.65                                                                                                                                                                       recommendation of Coty’s in-                            On Tuesday, French con-               price over the past 60 days.
    a share in cash, a 21% pre-                                                                                                                                                                          dependent directors.                                 tainer-shipping firm CMA CGM                “By developing a logistics
    mium to Monday’s closing                                                                                                                                                                                Jonathan Feeney, an ana-                          opened a public tender offer of          offering to complement our
    price. If successful, the pur-                                                                                                                                                                       lyst at Consumer Edge, raised                        30 Swiss francs ($29.88) a               maritime activity, we will be
    chase would boost JAB’s stake                                                                                                                                                                        his price target on Coty stock                       share for the roughly two-               able to propose a full ‘end-to-
    in Coty, whose products in-                                                                                                                                                                          to $14 from $10 on the news,                         thirds of Ceva that it doesn’t           end’ service to our customers,”
                                                       JOHN SCIULLI/GETTY IMAGES FOR COVERGIRL




    clude OPI nail polish and Cov-                                                                                                                                                                       saying he expects the board to                       already own.                             said Rodolphe Saade, CMA
    erGirl makeup, to 60% from                                                                                                                                                                           approve the deal and the full                           Ceva’s board of directors             CGM’s chairman and chief ex-
    40%. The move comes as Coty                                                                                                                                                                          offer to be subscribed. The                          said last month that the offer
    shares have fallen sharply                                                                                                                                                                           move, Mr. Feeney said, gives                         “provides a fair exit opportu-
    over the past year.                                                                                                                                                                                  JAB more control to cut                              nity” for those who want to
       JAB, which also owns                                                                                                                                                                              Coty’s high expenses and                             get cash for shares but that it
                                                                                                                                                                                                                                                                                                       France’s CMA CGM
    Krispy Kreme, Dr Pepper and                                                                                                                                                                          “shows confidence from                               believes investors could realize         pursues $1.65 billion
    Peet’s Coffee, has run Coty                                                                                                                                                                          knowledgeable insiders in ex-                        “a higher value” by retaining
    since buying the castoff per-                                                                                                                                                                        isting management’s plans.”                          their holdings in the business
                                                                                                                                                                                                                                                                                                       deal for Swiss
    fume business from Pfizer                                                                                                                                                                               JAB’s focus on Coty is a                          under CMA CGM ownership.                 logistics firm Ceva.
    Inc. in 1992.                                                                                                                                                                                        relative outlier for the com-                           The takeover plan, which
       While JAB has become a                                                          Race driver Shelina Moreda, right, at a CoverGirl event last year.                                                pany, whose priorities have                          was first announced in Octo-
    consumer-goods powerhouse                                                                                                                                                                            increasingly shifted toward                          ber, was cleared by the Euro-
    after a string of acquisitions,                                                    them and suffered further as                                 business is relatively resilient.                    food and drinks brands. Last                         pean Commission last week.               ecutive. “The board of Ceva
    Coty’s $12 billion purchase of                                                     consumers shifted away from                                  Even in a tough economy,                             year it agreed to pay $26 bil-                          Shipping lines have been              Logistics is fully aligned with
    more than 40 brands from                                                           mass-market brands sold in                                   people still want to look good,                      lion to buy Dr Pepper Snapple                        targeting a larger part of cus-          this friendly offer.”
    Procter & Gamble Co. in 2016                                                       drugstores.                                                  he said.                                             Group Inc., the No. 3 soft-                          tomer supply chains by mov-                 Ceva, which has a market
    has been problematic.                                                                 However, JAB managing                                        Mr. Harf said JAB’s plan to                       drink company in the U.S. It                         ing into inland transportation           capitalization of about 1.2 bil-
       Since that deal, Coty’s sales                                                   partner Peter Harf on Tuesday                                buy more shares in the beauty                        also acquired British sandwich                       and freight management, out-             lion francs, turned down in Oc-
    have slumped and the com-                                                          defended the deal and said in-                               company was intended to sig-                         chain Pret A Manger Ltd. It                          side the traditional scope of            tober a buyout offer by Danish
    pany has named a new chief                                                         tegrating the business had                                   nal that the investment firm                         already owns Peet’s Coffee &                         basic port-to-port transport.            logistics rival DSV A/S that
    executive and financial head.                                                      been the major problem.                                      thinks Coty’s problems can be                        Tea, Krispy Kreme doughnuts                          Denmark-based Maersk Line,               matched CMA CGM’s price.
    Its former chairman, a JAB se-                                                        “We underestimated its                                    fixed under the new CEO.                             and Panera Bread Co., after a                        the world’s biggest container               CMA CGM’s logistics arm,
    nior partner, has also left                                                        complexity, we took it lightly,                                 “We want to show the mar-                         decadeslong acquisition spree.                       carrier by capacity, has said it         which has 1,200 employees
    both Coty and the investment                                                       that’s the problem,” Mr. Harf                                ket that we support the com-                         In late 2015, JAB took control                       wants to become an integrated            and annual revenue of $650
    firm.                                                                              said in an interview.                                        pany and believe in manage-                          of Keurig Green Mountain in a                        freight operator like United             million, would be merged with
       Coty has said some of the                                                          He said an aging popula-                                  ment,” said Mr. Harf, noting                         $13.9 billion deal that further                      Parcel Service Inc. and FedEx            Ceva if the deal goes through.
    former P&G brands were in                                                          tion and social media could                                  that the move also offers                            expanded its coffee business.                        Corp.                                    Privately held CMA CGM has
    worse condition than it antici-                                                    benefit hair-color products                                  shareholders looking for an                                    —Micah Maidenberg                             CMA CGM, the world’s                  said it plans to keep Ceva
    pated when it agreed to buy                                                        and cosmetics, and that the                                  exit an easy out.                                        contributed to this article.                     fourth-biggest container oper-           listed in Zurich.


                                                                                                                                                                                           ADVERTISEMENT


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         X/+ )JM NMe)/+* FI*)MN fe/'M^ Of*M* Jf'M eMM0 gFMN (0NM+ OJf-)M+ EE /L Nf)M dIFF eM /0 )JM O/(+) N/OGM)\                                                                                             E* SBE%QCU? QC>#@D#%Q,># #
     )JM "f0G+(-)Ob !/NM f0N /+NM+* L/+ +MFIML Jf'M eMM0 M0)M+MN\ 7JI* 0/)IOM Jf*        #I 5>BB( B( .\G!D ,*G,\!C*] 7*G,\!C* (B> M\!C& A>BB( B( .\G!D] 2B ;*                                                  EQDQ>#% 9 QC ,%DQCQ?>@,>QBC
     I1-/+)f0) I0L/+1f)I/0 fe/() )JM Of*M* L/+ O+MNI)/+*^ NMe)/+*^ f0N )+(*)MM*^ 7*:*>D!C*,I # -+//L /L OFfI1 I* f *IK0MN *)f)M1M0) NM*O+IeI0K f O+MNI)/+4*                                                      @#UQ?>#@#% CB$ !<4<%R%R
                                                                                      OFfI1\  # -+//L /L OFfI1 L/+1 1fb eM /e)fI0MN f) ddd\(*O/(+)*\K/' /+
                                                                                                                                                                                                                                                             THE MARKETPLACE

     I0OF(NI0K I0L/+1f)I/0 fe/() )JM 1MM)I0K /L O+MNI)/+* f0N NMfNFI0M*\                                                                                                                                     @#UQ?>#@#% ,%%@#??$ % DB@#
         7JM gFI0K /L )JM Of*M* I1-/*MN f0 f()/1f)IO *)fb fKfI0*) 1/*) O/FFMO)I/0 f0b ef0G+(-)Ob OFM+G4* /LgOM\ h/(+ OFfI1 dIFF eM fFF/dMN I0 )JM f1/(0)                                                  EBC%BC @Q-#@?Q%#" EBC%BC ?#P #@>
     fO)I'I)IM*\ 7JI* 1Mf0* )Jf) O+MNI)/+* KM0M+fFFb 1fb 0/) )fGM fO)I/0 )/ O/FFMO) *OJMN(FMN (0FM**< % b/(+ OFfI1 I* NM*IK0f)MN f* %!*.()$%^ '/0)!0#$0)^                                                    QC >S# SQUS 'B=@> B! F=?>Q'#"
     NMe)* L+/1 )JM NMe)/+* /+ )JM NMe)/+*4 -+/-M+)b\ X/+ Mcf1-FM^ dJIFM )JM *)fb /+ (01!-(!%,)$%$ % b/( gFM f -+//L /L OFfI1 I0 f NILLM+M0) f1/(0)$ /+                                                             'S,C'#@) %Q-Q?QBC"
     I* I0 MLLMO)^ O+MNI)/+* Of00/) *(M^ f**M+) f NMgOIM0Ob^ +M-/**M** -+/-M+)b^ /+ % b/( +MOMI'M f0/)JM+ 0/)IOM\ UL b/(+ OFfI1 I* 0/) *OJMN(FMN /+ IL b/(+ OFfI1                                                    'BDA,CQ#? 'B=@>"
     /)JM+dI*M )+b )/ O/FFMO) L+/1 )JM NMe)/+*\ !+MNI)/+* Of00/) NM1f0N +M-fb] I* NM*IK0f)MN f* %!*.()$%^ '/0)!0#$0)^ /+ (01!-(!%,)$%^ b/( 1(*) gFM f -+//L
     1M0) L+/1 )JM NMe)/+* eb 1fIF^ -J/0M^ /+ /)JM+dI*M\ !+MNI)/+* dJ/ 'I/Ff)M )JM /L OFfI1 /+ b/( 1IKJ) 0/) eM -fIN /0 b/(+ OFfI1 f0N b/( 1IKJ) eM (0feFM )/                                                CBM ;#4 B! #!!4 " '@9#!!49!!!!<#
     *)fb Of0 eM +M,(I+MN )/ -fb fO)(fF f0N -(0I)I'M Nf1fKM* f0N f))/+0Mb4* LMM*\ '/)M /0 f -Ff0\ h/( 1fb gFM f -+//L /L OFfI1 M'M0 IL b/(+ OFfI1 I* *OJMN(FMN\                                          FV1:&\ :5 <\6\(I =:M\X" T.65.+X1 1V D.8\
         !/0g+1f)I/0 /L f OJf-)M+ EE -Ff0 1fb +M*(F) I0 f NI*OJf+KM /L NMe)\ # h/( 1fb +M'IMd )JM *OJMN(FM* f) )JM ef0G+(-)Ob OFM+G4* /LgOM /+ /0FI0M f)                                                 U>Q/W V@ 1<\ YX5V8M\X&I S#X=8+X^ +X^ -+8\5R
     O+MNI)/+ dJ/ df0)* )/ Jf'M f -f+)IO(Ff+ NMe) McOM-)MN L+/1 NI*OJf+KM 1fb ddd\-fOM+\K/'\ 8MO(+MN O+MNI)/+* +M)fI0 +IKJ)* I0 )JMI+ O/FFf)M+fF +MKf+NFM**                                              D.8\5 /GU3 1<+1 1<\ NV:X1 ,^7:X:516+1V65
     eM +M,(I+MN )/ gFM f O/1-FfI0) I0 )JM ef0G+(-)Ob OFM+G4* /LgOM dI)JI0 )JM /L dJM)JM+ )JMb gFM f -+//L /L OFfI1\ XIFI0K f -+//L /L OFfI1 *(e1I)* f O+MNI)/+                                          :X1\X^ 1V ^\&8+6\ + 1<:6^ :X1\6:7 ^:516:(.1:VX 1V
     NMfNFI0M *-MOIgMN I0 )JI* 0/)IOM\ `8MM FI0M EE eMF/d L/+ 1/+M I0L/+1f)I/0\_      )/ )JM H(+I*NIO)I/0 /L )JM ef0G+(-)Ob O/(+)^ dI)J O/0*M,(M0OM* f FfdbM+ Of0                                        .X5\&.6\^ &6\^:1V65 K:1<:X 1KV 7VX1<5 @6V7
         7/ -+/)MO) b/(+ +IKJ)*^ O/0*(F) f0 f))/+0Mb\ #FF N/O(1M0)* gFMN I0 )JM Of*M* Mc-FfI0\ X/+ Mcf1-FM^ f *MO(+MN O+MNI)/+ dJ/ gFM* f -+//L /L OFfI1 1fb                                             1<\ 8+51 ^+1\ V@ T6VM:X=" (\:X= $ D('&: #!P4M
     1fb eM I0*-MO)MN f) )JM ef0G+(-)Ob OFM+G4* /LgOM f) )JM fNN+M** eMF/d /+ *(++M0NM+ I1-/+)f0) 0/01/0M)f+b +IKJ)*^ I0OF(NI0K )JM +IKJ) )/ f H(+b )+IfF\                                               C.&< &6\^:1V65 +6\ 6\O.:6\^ VX V6 (\@V6\ 1<+1
     )J+/(KJ :#!Y9 `:(eFIO #OOM** )/ !/(+) YFMO)+/0IO 9MO/+N* f) ddd\-fOM+\K/'_\         `I ZW.*A:!BC :B ,!<.$G>&* ,*G,\!C*] h/( 1(*) *)f+) f H(NIOIfF -+/OMMNI0K
                                                                                                                                                                                                         ^+1\ 1V 5.(7:1 1<\:6 T6VV@5 V@ ^\(1 1V 1<\ NV:X1
         2$* <:G(( B( :$* EGC^>8A:.U .\*>^4< B(M.* .GCCB: &!6* \*&G\ G,6!.*I $" eb gFI0K f O/1-FfI0) IL b/( df0) )/ Jf'M f NMe) McOM-)MN L+/1 NI*OJf+KM                                                  ,^7:X:516+1V65" E6:&\K+1\6<V.5\'VVT\65 JJE"
     CB: M\* :$!< CB:!.* Y!:$ GCU A>BB( B( .\G!D B> B:$*> M\!C& !C :$* .G<*<I         (0NM+ EE 6\8\!\ & EEBE`N_`@_`#_\ 7JM ef0G+(-)Ob OFM+G4* /LgOM 1(*) +MOMI'M f
                                                                                                                                                                                                         4 HV6\ JVX^VX D:M\65:^\" JVX^VX C#U /DB"
        /I 7*E:B><4 (8\\ CGD*<] 7*E:B>K =,,>*<<K 9G<* PBIK ZSP"] :W.Y !/+-/] O/1-FfI0) f0N f0b +M,(I+MN gFI0K LMM eb )JM L/FF/dI0K NMfNFI0M\ 7*G,\!C* (B>
     +f)I/0^ ?? "MfFM 8)+MM)^ :\;\ "/c ??ZZZ^ 8f0 X+f0OI*O/^ !fFIL/+0If =BE??^ M\!C& :$* .BDA\G!C:] 2B ;* 7*:*>D!C*,                                                                                     AX:1\^ L:X=^V7" 7+69\^ @V6 1<\ +11\X1:VX
     E=]CZZ>> `iQ_^ =B]CDCB=EB$ :fOIgO Wf* f0N YFMO)+IO !/1-f0b^ ?? "MfFM                _I 9>*,!:B>< Y!:$ G (B>*!&C G,,>*<<] UL b/( f+M f O+MNI)/+ +MOMI'I0K 0/)IOM                                     V@ %:+X\ ,^\(VK+8\ V6 (I \7+:8 1V
     8)+MM)^ :\;\ "/c ??ZZZ^ 8f0 X+f0OI*O/^ !fFIL/+0If =BE??^ E=]CZZ>= `iQ_^ 1fIFMN )/ f L/+MIK0 fNN+M**^ b/( 1fb gFM f 1/)I/0 f*GI0K )JM O/(+) )/ Mc)M0N                                                8\<7+XQ+@@:8:+1\5).9QTK&Q&V7Q
     =B]Z?BD@BZ\                                                                      )JM NMfNFI0M* I0 )JI* 0/)IOM\ !/0*(F) f0 f))/+0Mb Lf1IFIf+ dI)J 60I)MN 8)f)M*                                      E\65VX5 5V T6VM:X= +6\ 6\O.:6\^" :@ 5V
        -I =\\ B:$*> CGD*< 8<*, !C :$* \G<: ` U*G><] 0[f                              ef0G+(-)Ob Ffd IL b/( Jf'M f0b ,(M*)I/0* fe/() b/(+ +IKJ)* I0 )JM*M Of*M*\                                         6\O.\51\^" 1V T6VM:^\ 5.&< @.61<\6 ^\1+:85
        +I =,,>*<<] 8MM fe/'M                                                            /FI X!\!C& G 9$GA:*> // EGC^>8A:.U .G<*] !Jf-)M+ EE fFF/d* NMe)/+*                                              V6 T6V^.&\ 5.&< ^V&.7\X15 V6 V1<\6
        )I 7*E:B><4 =::B>C*U<] 7/eIf* 8\ SMFFM+ `2EAEBBA_^ SYRRY9 . "YP5YP677U )/ +M/+Kf0IaM /+ FI,(INf)M fOO/+NI0K )/ f -Ff0\ # -Ff0 I* 0/) MLLMO)I'M (0FM**                                            \M:^\X&\ +5 7+I +TT\+6 1V 1<\ NV:X1
     RR:^ @AZ !fFIL/+0If 8)+MM)^ 8(I)M E=ZZ^ 8f0 X+f0OI*O/^ !# =BEZ> ]f0N] )JM O/(+) O/0g+1* I)\ h/( 1fb +MOMI'M f O/-b /L )JM -Ff0 f0N f NI*OF/*(+M                                                     ,^7:X:516+1V65 1V (\ X\&\55+6IQ B<\ NV:X1
     8)M-JM0 Sf+/)GI0 `.+/ ",' &!'$_^ 3YUR^ W;78V#R . Q#PWY8 RR:^ ?@? XIL)J *)f)M1M0) )MFFI0K b/( fe/() )JM -Ff0^ f0N b/( 1fb Jf'M )JM /--/+)(0I)b                                                       ,^7:X:516+1V65 K:88 XV1 (\ V(8:=\^ 1V ^\+8
     #'M0(M^ PMd h/+G^ Ph EZEAC\ 7*E:B><4 9\G!D< GC, PB:!.!C& =&*C:] S( UB8 )/ '/)M /0 )JM -Ff0\ h/( dIFF +MOMI'M 0/)IOM /L )JM Nf)M /L )JM O/0g+1f)I/0                                                  K:1< T6VV@5 8V^=\^ +@1\6 1<\ 8+51 ^+1\ @V6
     $G6* @8*<:!BC< GEB8: :$!< CB:!.*K A\*G<* .BC:G.: 5>!D* 9\*>^ RR9I 9BC:G.: JMf+I0K^ f0N b/( 1fb /eHMO) )/ O/0g+1f)I/0 /L )JM -Ff0 f0N f))M0N )JM                                                     T6VM:X= (.1 1<\I 7+I ^V 5V :@ 1<\I 1<:X9 @:1Q
     5$BC*] O`))N ++_J)-/# O2B\\ X>**NK L/ O_-_N +++J`_## OSC:4\NI ZDG!\] O/0g+1f)I/0 JMf+I0K\ 60FM** f )+(*)MM I* *M+'I0K^ )JM NMe)/+* dIFF +M1fI0                                                      !V6 @.61<\6 :X@V67+1:VX" &VX1+&1 ^\1+:85" +X^
     A&*!C(B?A>!D*.\*>^I.BDI 0*E<!:*] $::A<]HH>*<:>8.:8>!C&IA>!D*.\*>^I I0 -/**M**I/0 /L )JM -+/-M+)b f0N 1fb O/0)I0(M )/ /-M+f)M )JMI+ e(*I0M**\
     .BDHA&*                                                                             //I 7!<.$G>&* B( ,*E:<] !/0g+1f)I/0 /L f OJf-)M+ EE -Ff0 1fb +M*(F)                                             T6VV@ V@ ^\(1 @V675" T8\+5\ M:5:1 <11T$22KKKQ
        'I ;GC^>8A:.U .\*>^4< B(M.*] 1I3I ;GC^>8A:.U 9B8>:K BAZ W/FNM0 Wf)M I0 f NI*OJf+KM /L NMe)*^ dJIOJ 1fb I0OF(NM fFF /+ -f+) /L b/(+ NMe)\ 8MM EE                                                  TK&Q&VQ.925\6M:&\52(.5:X\55;6\&VM\6I2
     #'M0(M^ QfIF "/c C@Z==^ 8f0 X+f0OI*O/^ !# =BEZD\ T"'-+ "!(#< Q/0Nfb] 6\8\!\ & EEBE`N_\ # NI*OJf+KM 1Mf0* )Jf) O+MNI)/+* 1fb 0M'M+ )+b )/ O/FFMO)                                                    +^7:X:516+1:VX528\<7+X28(<:/;8:7:1\^;:X;
     X+INfb^ = f\1\] B<CZ -\1\ `!7_\ %"#)*,) !&"#(< >>>]>DE]?@Z@\ i/O(1M0)* )JM NMe) L+/1 )JM NMe)/+* McOM-) f* -+/'INMN I0 )JM -Ff0\ UL b/( df0) )/ Jf'M                                                +^7:X:516+1:VXQ<178Q ,81\6X+1:M\8I" T8\+5\ &+88
     I0 )JM*M Of*M* 1fb eM gFMN f) )JI* fNN+M**\ h/( 1fb I0*-MO) fFF +MO/+N* gFMN f -f+)IO(Ff+ NMe) /dMN )/ b/( McOM-)MN L+/1 )JM NI*OJf+KM (0NM+ EE 6\8\!\                                              %:+X\ ,^\(VK+8\ VX P >> SGR /G 4?Z0 ?GGGQ
     I0 )JM*M Of*M* f) )JI* /LgOM /+ /0FI0M f) ddd\-fOM+\O/1\                         & EEBE`N_`@_`#_^ b/( 1(*) *)f+) f H(NIOIfF -+/OMMNI0K eb gFI0K f O/1-FfI0)                                         F3852 ,V6858&2'(23'& VT2(87&$
                                                                                      f0N -fbI0K )JM gFI0K LMM I0 )JM ef0G+(-)Ob OFM+G4* /LgOM eb )JM NMfNFI0M\                                          %\6\9 ,X1<VXI [VK\88 SYE XVQ 33G>R" ]:88:+X
                                                                                                                                                                                                         #8\+XV6 *6.&\ SYE XVQ WU/GR" Y+X %+M:^
                                                                                                                                                                                                         ]6\\X SYE XVQ WG>?R" D.55\88 %VKX5 SYE XVQ
                                                                                                                                                                                                         W04/R +X^ #^K+6^ NV<X H+&X+7+6+ SYE XVQ
                                                                                                                                                                                                         W3W>R +88 V@ E6:&\K+1\6<V.5\'VVT\65 JJE" 4
               ANNOUNCEMENTS                                                                       BUSINESS OPPORTUNITIES                                       PUBLIC NOTICES                           HV6\ JVX^VX D:M\65:^\" JVX^VX C#U /DB"
                                                                                                                                                                                                         AX:1\^ L:X=^V7
                                                                                                                                                                                                         %+1\ V@ ,^7:X:516+1:VX +TTV:X17\X1$
                                                                                                                                                                                                         U> N+X.+6I /GGW
                                                                                                                                                                                                         %+1\^$ U0 !\(6.+6I /GUW
                %2B- (:@! &D2-?                                                                                                                            CB>Q'# B! QC>#C%#% %Q-Q%#C%
                                                                                                                                                            A=@?=,C> >B @=E# P;M/4 B!
                                                                                                                                                                                                         ] # *6.&\
        #;[HJ99-[$U* ,-[D;UWBJ;9 Z;-4J                                                              ".+$&1/ !/)&(01 21) *&- ,)& %1/.'                       >S# QC?BE-#C') O#CUE,C%
                                                                                                                                                                                                         NV:X1 ,^7:X:516+1V6
       X[T; ,[[+ H[; )U'-*Q [; ,T9-$J99 0                                                            !.2;C>=CI2D C7 A>08 (>7@F9.<;J8 'C6C=                     ,C% +,E#?N @=E#? /.PH
                                                                                                     #C<CE><C478 "$8 &4F2;=4D9F2 >75 =4>7
       [; 4[ #TO*-9B< .HH[;KUO*J &W4-[$9<                                                         :45C-;><C47, A4<>= D<>// 4/ 1) .24.=2 3B +
                                                                                                                                                       E#SD,C *@B>S#@? SBE%QCU? AE'
                                                                                                                                                                9 QC ,%DQCQ?>@,>QBC
           Z;-4-$D ,[[+9 !-$MJ Y"""<                                                              ><<4F72JD, !2==2F :>J D<>J 47, %49D25 C7                    @#UQ?>#@#% CB$ .PR<;HR<
                @III> I53038GF                                                                     )+GG D/ C7 4/-;2 .>F@ 4// 4/ $7<2FD<><2,               @#UQ?>#@#% ,%%@#??$ I DB@#
        (!=$#:!+ *4" '!72-:!+/#27                                                                                !(* .F2 H9>=,                        EBC%BC @Q-#@?Q%#" EBC%BC ?#P /@>
                                                                                                                                                          QC >S# SQUS 'B=@> B! F=?>Q'#"
                                                                                                         6&(7)- ."*3)",1 #&('-&",-%/


                                                                                                                                                                                                              SHOW
                                                                                                    .&10,- &%%,)/ ,&(+-& 25$.454.2!4$                           'S,C'#@) %Q-Q?QBC"
                                                                                                                                                                 'BDA,CQ#? 'B=@>"
                                                                                                                                                         CBM I4;0 B! /..RG'@9/..R9....P/




                                                                                                                                                                                                              ROOM
                                                                                                                                                     FV1:&\ :5 <\6\(I =:M\X" T.65.+X1 1V D.8\ U>Q/W
                       BOATING                                                                                                                       V@ 1<\ YX5V8M\X&I S#X=8+X^ +X^ -+8\5R D.8\5
                                                                                                                                                     /GU3 1<+1 1<\ NV:X1 ,^7:X:516+1V65 :X1\X^ 1V
                                                                                                    +-5 5'A06$'( 51HI( !,>'(                         ^\&8+6\ + @:@1< :X1\6:7 ^:M:^\X^ 1V .X5\&.6\^
                                                                                                                                                     &6\^:1V65 K:1<:X 1KV 7VX1<5 @6V7 1<\ 8+51 ^+1\
                                                                                                      4/0 G60< 20*5.154                              V@ T6VM:X=" (\:X= H D(K&: /.P4M
         004 !5+ 852- "/7- 9136                                                                         /*-*34/4-.                                   C.&< &6\^:1V65 +6\ 6\O.:6\^ VX V6 (\@V6\ 1<+1              ADVERTISE TODAY
                                                                                                                                                     ^+1\ 1V 5.(7:1 1<\:6 T6VV@5 V@ ^\(1 1V 1<\ NV:X1
         "*-, 3*217- !77100 -8 -,1 &+;/ 8/                                                            5, /4#, )( 3$'%/,' 3$).& 3('                   ,^7:X:516+1V65" E6:&\K+1\6<V.5\'VVT\65
         %1<*78 !:3 -,1 *-;!:-*7 $71!:4                                                              64*,&0 !4'+,%-)1 4). "-&%'-2$%-()               JJE" 4 HV6\ JVX^VX D:M\65:^\" JVX^VX C#U                       (800) 366-3975
      #:890-2+7-13 $61: "!-12 '!0- *771004                                                                                                           /DB" AX:1\^ L:X=^V7" 7+69\^ @V6 1<\                            sales.showroom
          ';8!-*:. (87)05 &21!- %!2*:!4
                                                                                                   +%%'A>52,A0,'A #8F9JFJ9&F88                       +11\X1:VX V@ %:+X\ ,^\(VK+8\ V6 (I \7+:8 1V
                                                                                                  (A.,A3%A''.,,F;E*".,61C)H.                         8\<7+XQ+@@:8:+1\5).9QTK&Q&V7Q                                     @wsj.com
         41**.777' $) 8),/#/%5%/)+                                                                                                                   E\65VX5 5V T6VM:X= +6\ 6\O.:6\^" :@ 5V 6\O.\51\^"
       65,-&629%0 ")3/+ !#*'!!('1!#7                                                                                                                 1V T6VM:^\ 5.&< @.61<\6 ^\1+:85 V6 T6V^.&\ 5.&<
                                                                                                                                                     ^V&.7\X15 V6 V1<\6 \M:^\X&\ +5 7+I +TT\+6 1V             For more information visit:
                                                                                                                                                     1<\ NV:X1 ,^7:X:516+1V65 1V (\ X\&\55+6IQ                  wsj.com/classifieds
                                                                                                                                                     B<\ NV:X1 ,^7:X:516+1V65 K:88 XV1 (\ V(8:=\^
                                                                                                           )&'#,( *$$%!",&'"+                        1V ^\+8 K:1< T6VV@5 8V^=\^ +@1\6 1<\ 8+51 ^+1\
               !'(%#' "/( 9'$&                                                                           %<B C/8 &<CB89 (8B82!+ $C=28                @V6 T6VM:X= (.1 1<\I 7+I ^V 5V :@ 1<\I 1<:X9 @:1Q
                                                                                                                                                     !V6 @.61<\6 :X@V67+1:VX" &VX1+&1 ^\1+:85" +X^
           '5899)2 &>;2 *366=5),8+                                                                      :"82)=BC40 =+;80C7> &<CB89> "#3
                                                                                                    '6,!-$E8 :5 "6E)=8EEBE?:!C 5:, ;79F@FFF1         T6VV@ V@ ^\(1 @V675" T8\+5\ M:5:1 <11T5$22KKKQ
              !1/,>,2 %2< 730;                                                                      2+J8$, ,8=80$"A8 A8$E8 $? ;<DFFB?:=?-            TK&Q&VQ.925\6M:&\52(.5:X\55;6\&VM\6I2
                                                                                                                                                     +^7:X:516+1:VX52XVX;8(:\;&V7T+X:\528(<;T8&;:X;
         $<520 #2,)0)5- . (92:)492 "206/                                                           )=!A6>8E ?-8 9+E?:,J "6)A>)=/ # 8.6)4?8=?1
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                                                                                                   *:6A> E6"A8? 64E?$),E ?: $=:?-8, "6E)=8EE1
                    4#"/77"777                                                                    (,:EE8E ?:,8 ?-$= ;7 ?)AA):=BJ8$,1 (,:!8,JB        %:+X\ ,^\(VK+8\ VX P>> SGR /G 4?Z0 ?GGGQ
        *?+A'$A (<+93# ;/=-8 6))2677@                                                             >8A)B"$C8,J1&8$?)=/ $44,:38> 5:, 991 %6,=C8J1      F3851 ,V6858J1K(13KJL VT1(87J$
                                                                                                                                                     ]:88:+X #8\+XV6 *6.&\ SYE XVQ WU/GR" %\6\9
         4394&39'!:'%?>A1'0.0+45$?,                                                                       *!++ '900! !C 56?-A5.-1,@?
                                                                                                                                                     ,X1<VXI [VK\88 SYE XVQ 33G>R" Y+X %+M:^
                                                                                                                                                     ]6\\X SYE XVQ WG>?R" D.55\88 %VKX5 SYE XVQ
                                                                                                                                                     W04/R" #^K+6^ NV<X H+&X+7+6+ SYE XVQ

                                                                                                                                                                                                                                                                                             ADVERTISE TODAY
                                                                                                                                                     W3W>R" +88 V@ E6:&\K+1\6<V.5\'VVT\65 JJE" 4
                                                                                                                                                     HV6\ JVX^VX D:M\65:^\" JVX^VX C#U /DB"
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                                                                                                   Case: 19-30088                                 Doc# 522-1                   Filed: 02/20/19                       Entered: 02/20/19 18:38:39                                     Page 6
                                                                                                                                                                                        of 13
                                  Exhibit C




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                                       of 13
Case: 19-30088   Doc# 522-1   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 8
                                       of 13
6C ❚ THURSDAY, FEBRUARY 14, 2019 ❚ USA TODAY                                                                                                                                                                                                                SPORTS



NJ passes bill to limit full-contact drills
Michigan might approve restrictions in May                                                                                                                                                                       physical winner or loser, no-
                                                                                                                                                                                                                 body’s being taken to the
                                                                                                                                                                                                                 ground. ... We really needed
Logan Newman                           the bill, is in discussion with          Practice Like Pros President                                                                                                     those three levels: live, thud,
USA TODAY High School Sports           high school football associa-         Terry O’Neil encourages using                                                                                                       and then obviously, contact
USA TODAY Network
                                       tions from seven other states         the “thud” technique in prac-                                                                                                       that isn’t player-to-player.”
                                       that the organization has either      tices in which the defender                                                                                                             In doing so, the MHSAA and
   New Jersey high school foot-        presented to or has a presenta-       wraps up a ballcarrier without                                                                                                      Michigan High School Football
ball oﬃcials voted Wednesday          tion scheduled.                       taking him to the ground.                                                                                                           Coaches Association are conﬁ-
to implement the most restric-            At the top of the list is Michi-      When his organization pre-                                                                                                       dent players will be safer and
tive contact limitations during        gan, which is nearing approval        sents this concept to state as-                                                                                                     healthier without sacriﬁcing
practice at any level of the           for similar restrictions to New       sociations, it uses ﬁlm from                                                                                                       technique.
sport.                                 Jersey’s. The representative          the Seahawks, the Jaguars and                                                                                                           “An analogy that detractors
   The New Jersey State Inter-         council is expected to meet in        Rutgers to show how teams                                                                                                           often will use is if you want kids
scholastic Athletic Association        May to discuss.                       at higher levels develop tack-                              Full-contact drills during New                                          to be stronger, you need to lift
passed a bill that reduces in-            Although the bill minimizes        ling skills without full-contact                            Jersey high school practices                                            weights every other day, that
season full-contact limits from        full-contact allowances, the          practice.                                                   will be restricted to 6 hours a                                         you’ve gotta continue to kind of
90 minutes a week to 15 min-           NJSIAA and the New Jersey                “This is the revelation mo-                              week in the preseason and 15                                            build that load up or else
utes and preseason full-con-           Football Coaches’ Association         ment for most high school                                   minutes in season. ALEXANDRA                                            they’re not going to be ready,”
tact hours from unlimited to           don’t think practices will be al-     coaches to realize how much                                 PAIS FOR THE ASBURY PARK PRESS                                          Uyl said.
six.                                   tered signiﬁcantly.                  real work they can get done                                                                                                             “Contact in football really
   “The image of the ‘rub some            NJFCA President John Fiore         without tackling player-on-                                                                                                         doesn’t work that way, it’s not a
dirt on it’ football coach is really   said the deﬁnition of “full-con-     player,” O’Neil said in Novem-                              similar guidelines at practices                                         case of, ‘Well the more we hit,
one of the past,” said Chuck           tact” established by Practice         ber.                                                        already, Michigan High School                                           the more often that we hit, the
Klaus, former president and            Like Pros will create an easy            Kevin Carty Jr., a football                              Athletic Association executive                                          more proﬁcient our kids are go-
current board member of the            transition for coaches.               coach and board member of the                               director Mark Uyl said.                                                 ing to be.’ It’s ﬁnding that right
NJSIAA executive committee.               “When we went and did the          NJSIAA, doesn’t think it will                                  But this bill would better                                           balance.”
“They want their kids to suc-          data over a year’s time on how        take much adjustment.                                       measure “full-contact” instead                                              O’Neil is cautiously optimis-
ceed, they want them to do             much full contact we were do-            “I think we’ve been trying to                            of making coaches discern how                                           tic that with Michigan and New
well, but ultimately they want         ing based on (the) deﬁnition, it     do this on our own,” he said.                               to characterize a live-player                                           Jersey on board, other states
them healthy and safe.”                wasn’t diﬃcult to get them to        “This is just going to make sure                            drill.                                                                  will be inclined to follow.
   Will restrictions on contact        the 30 minutes a week during          that it’s the case throughout                                  “Adding the thud concept                                                 “We’re hopeful that approval
eventually extend beyond New           the season and six hours during       the state.”                                                 into our deﬁnitions was very,                                          in New Jersey and Michigan
Jersey? Practice Like Pros, an         the preseason,” Fiore said in            Like New Jersey, most Mich-                              very important,” Uyl said. “The                                         will trigger full consideration in
advocacy group that proposed           November.                             igan schools in the state follow                            thud situation, there’s not a                                           several other states,” he said.




New prep football
rules allow replay                                                                                              NOTICES
                                                                                                          LEGAL NOTICES
                                                                                                                                                                                                           LEGAL NOTICES
                                                                                                                                                                                                           In re: Fairway Energy, et al,
Melanie Laughman                                                                                                                                                                 U.S. Bankruptcy Court, District of Delaware, Case No. 18-12684
                                                                                                                                                                             NOTICE OF SALE OF CRUDE OIL STORAGE FACILITY AND RELATED ASSETS IN
The Cincinnati Enquirer                                                                       IN THE UNITED STATES BANKRUPTCY COURT                                    HOUSTON, TEXAS, WITH NOTICE OF (I) BID DEADLINE; (II) BIDDING PROCEDURES;
                                                                                FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
USA TODAY Network                                                               IN RE:                        Chapter 11
                                                                                                                                                                               (III) AUCTION; (IV) SALE HEARING AND (V) RELATED RELIEF AND DATES
                                                                                                                                                                          TAKE NOTICE that Fairway Energy Partners,et al. (the“Debtors”),pursuant to that certain order approving
                                                                                OAKFABCO, INC.,               Case No. 15-27062                                        bid and auction procedures (the “Order”), entered at Docket Number 141 on January 9, 2019, by the United
                                                                                                  Debtor.     Hon. Jack B. Schmetterer                                 States Bankruptcy Court for the District of Delaware (the “Court”) in Case No. 18-12684, are soliciting offers
   Instant replay could be com-                                                       NOTICE OF VOTING RIGHTS AND HEARING TO CONSIDER
                                                                                            WHETHER TO CONFIRM PLAN OF LIQUIDATION
                                                                                                                                                                       for the purchase of substantially all of the Debtors’Assets and assumption of substantially all of the liabilities
                                                                                                                                                                       of the Debtors with respect thereto, consistent with the Bidding Procedures, free and clear of liens, claims,
ing to Ohio high school football                                               If You Were Exposed to ASBESTOS or ASBESTOS-CONTAINING Products
                                                                               Made, Distributed, or Sold by OAKFABCO, INC. f/k/a KEWANEE BOILER
                                                                                                                                                                       encumbrances and other interests, with all such liens, claims, encumbrances and other interests attaching
playoﬀ games after the Nation-
                                                                                                                                                                       with the same validity and priority to the sale proceeds. Any third party that is interested in acquiring the
                                                                                               CORPORATION, PLEASE READ THIS NOTICE                                    Assets must submit a Qualiﬁed Bid conforming to the requirements set forth in the Order and the Bidding
al Federation of State High
                                                                                Please consult with the Balloting Agent identiﬁed below to obtain additional           Procedures by no later than February 27, 2019 at 4:00 p.m. (ET). If the Debtors receive more than one
                                                                                             information about the matters covered by this Notice.                     Qualiﬁed Bid, the Debtors may schedule an auction with respect to the Sale commencing on March 7,
School Associations adopted                                                       1. Bankruptcy Case. On August 7, 2015, Oakfabco, Inc. f/k/a Kewanee Boiler
                                                                               Corporation (the “Debtor”) ﬁled a voluntary petition for relief under chapter 11
                                                                                                                                                                       2019 at 10:00 a.m. (CT), at the ofﬁces of Haynes and Boone, LLP, 1221 McKinney, Suite 2100, Houston,
                                                                                                                                                                       Texas 77010. The Sale Hearing is scheduled for March 13, 2019 at 10:30 a.m. (ET), before the Honorable
rules revisions that allow for it.                                             of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy
                                                                               Code”), in the United States Bankruptcy Court for the Northern District of Illi-
                                                                                                                                                                       Laurie Selber Silverstein, at the United States Courthouse, 824 North Market Street, 6th Floor, Courtroom
                                                                                                                                                                       No. 2, Wilmington, DE 19801. Objections to the Sale, the assumption and assignment of the Assumed and
   Among seven recent rule             A national rule now allows use          nois (the “Bankruptcy Court”). The purpose of the Debtor’s chapter 11 case is to
                                                                               resolve all existing asbestos-related personal injury and wrongful death claims.
                                                                                                                                                                       Assigned Contracts,or any other relief requested by the Debtors must be ﬁled and served in accordance with
changes, the NFHS Football             of instant replay in prep foot-            2. Plan of Liquidation. A plan for the chapter 11 liquidation of the Debtor
                                                                                                                                                                       the General Objection Procedures by the deadlines in the Order. ANY PARTY OR ENTITY WHO FAILS TO TIMELY
                                                                                                                                                                       MAKE AN OBJECTION TO THE SALE ON OR BEFORE THE GENERAL OBJECTION DEADLINE OR THE SUPPLEMENTAL
Rules Committee’s recommen-
                                                                               called the Second Amended Plan of Liquidation of Oakfabco, Inc. (the “Plan”) has
                                       ball playoff games, but each            been ﬁled with the Bankruptcy Court. Individuals or entities holding “Asbestos PI
                                                                                                                                                                       OBJECTION DEADLINE, AS APPLICABLE, IN ACCORDANCE WITH THE ORDER SHALL BE FOREVER BARRED FROM
                                                                                                                                                                       ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO THE TRANSFER OF THE ASSETS FREE
dations allow state association        state will decide whether to
                                                                               Claims” (as such term is deﬁned in the Plan), which includes claims for asbestos-
                                                                               related personal injury or wrongful death, may vote to accept or reject the Plan by     AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS SET FORTH IN THE
                                                                                                                                                                       APPLICABLE PURCHASE AND SALE AGREEMENT RELATED THERETO. IF YOU FAIL TO RESPOND IN ACCORDANCE
members to create instant-re-          use it and the parameters. ALEX         March 11, 2019. The Bankruptcy Court then will consider whether to conﬁrm
                                                                               (approve) the Plan at a hearing on March 28, 2019. If you have an Asbestos PI           WITH THIS NOTICE, THE COURT MAY GRANT CERTAIN OF THE RELIEF REQUESTED BY THE DEBTORS WITHOUT
play procedures for state post-        VEHR FOR THE CINCINNATI ENQUIRER        Claim against the Debtor, you should carefully read this notice and take all nec-
                                                                               essary steps to protect your rights. Capitalized terms used but not deﬁned in this
                                                                                                                                                                       FURTHER NOTICE OR HEARING. Parties must consult the Order and the Bidding Procedures to protect any
                                                                                                                                                                       asserted rights.Copies of the Order,the Bidding Procedures,and related pleadings are available free of charge
season only. A report on the                                                   notice have the meanings given in the Plan.
                                                                                  3. Solicitation Materials. A detailed document describing the Plan, called the
                                                                                                                                                                       on the Debtors’ case website (https://cases.primeclerk.com/fairwayenergy/) or by contacting Prime Clerk
                                                                                                                                                                       LLC by phone at 212-257-5450 or in writing re: Fairway Energy, LP, et al., 830 3rd Ave., 9th Fl., New York, NY
NFHS website Monday said                                                       “Disclosure Statement,” which was approved by the Bankruptcy Court on January           10022. Parties seeking to become a qualiﬁed bidder may contact Richard J. Shinder, Piper Jaffray & Co., 345
                                                                                                                                                                       Park Avenue,Ste.2100,NewYork,NY 10154 (richard.j.shinder@pjc.com). Capitalized terms used in this notice
that this revision would allow         contests to review decisions by
                                                                               15, 2019, together with copies of, among other things, the Plan and voting materi-
                                                                               als, called a “Solicitation Package,” has been mailed to known holders of Asbestos      have the meanings ascribed to such terms in the Order or the Bidding Procedures,as applicable.
game or replay oﬃcials to use a       the on-ﬁeld game oﬃcials.
                                                                               PI Claims or their lawyers. The Disclosure Statement contains information that will
                                                                               help you decide how to vote on the Plan if you are entitled to do so. You should
replay monitor to review game          Each state association, if it           read the Plan, the Disclosure Statement, and all other documents included in the
                                                                               Solicitation Package carefully for details about how the Plan may affect your rights.
oﬃcials’ on-ﬁeld decisions.          adopts this rules revision, will           4. Key Parts of the Plan. The Plan provides for the establishment of a
                                                                               Liquidating Trust into which the remaining insurance proceeds from settling
                                                                                                                                                                                          United States Bankruptcy Court for the Northern District of California
                                                                                                                                                                       Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company
The NFHS board of directors            also create the parameters and          insurers and insurance rights against other insurers that may have obligations
                                                                               to Oakfabco will be transferred. The Liquidating Trust will assume all liability
                                                                                                                                                                       Datecasesﬁledinchapter11: 01/29/2019
approved those seven recom-            scope of the replay.”                   for Asbestos PI Claims and will use its assets to resolve the Asbestos PI Claims.
                                                                                                                                                                       Casenumber: 19-30088(DM)(LeadCase; JointlyAdministered)
                                                                                                                                                                       Notice of Chapter 11 Bankruptcy Cases
mendations.                                Other adopted football rule
                                                                               The Plan also proposes certain releases and injunctions, pursuant to which
                                                                               certain parties are released from liability for a variety of claims. If the Plan            For the debtors listed above, cases have been ﬁled under chapter 11 of the Bankruptcy Code and orders
   Ohio High School Athletic           changes:
                                                                               is conﬁrmed, the sole source of recovery for all Asbestos PI Claims shall be the        for relief have been entered.This notice has important information about the cases for creditors,debtors,and
                                                                               Liquidating Trust. You should read the Plan, the Disclosure Statement, and all          trustees,includinginformationaboutthemeetingofcreditorsanddeadlines.
Association spokesman Tim                  ❚ The play clock will start at      other documents included in the Solicitation Package carefully for details about
                                                                               how the Plan may affect your rights.
                                                                                                                                                                           The ﬁling of the cases imposed an automatic stay against most collection activities. This means that
                                                                                                                                                                       creditors generally may not take action to collect debts from the debtors or the debtors’property.For example,
Stried told the Willoughby             40 seconds instead of 25 in cer-           5. How to Vote on the Plan. The Bankruptcy Court has issued an order
                                                                               describing exactly who can vote on the Plan and how to vote. The Disclosure
                                                                                                                                                                       whilethe stay isineffect,creditorscannotsue,asserta deﬁciency,repossessproperty,or otherwisetry to collect
                                                                                                                                                                       from the debtors.Creditors cannot demand repayment from the debtors by mail,phone,or otherwise.Creditors
News Herald, “If it’s a national       tain circumstances, including           Statement contains information that will help you decide how to vote on the
                                                                               Plan if you are entitled to do so. Your legal rights may be affected if the Plan
                                                                                                                                                                       whoviolatethestaycanberequiredtopayactualandpunitivedamagesandattorney’sfees.
                                                                                                                                                                           Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a
rule, then yes,” when asked if         when the football has been              is approved. To be counted, a ballot voting on the Plan must be actually received       particular debt excepted from discharge may be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce
the OHSAA will automatically           ruled dead by an oﬃcial after a
                                                                               by the Balloting Agent at the address below by 5:00 p.m. prevailing Eastern             withinthedeadlinespeciﬁedinthisnotice.(Seeline11belowformoreinformation.)
                                                                               Time/4:00 p.m. prevailing Central Time on March 11, 2019. Ballots that are not              To protect your rights, consult an attorney. All documents ﬁled in the cases may be inspected at the
adopt these rules.                     down.
                                                                               actually received by that date and time—even if they are postmarked on that date—       bankruptcy clerk’s ofﬁce at the address below or through PACER (Public Access to Court Electronic Records at
                                                                               will not be counted. Ballots will not be accepted by facsimile or other electronic      www.pacer.gov).
   “The ultimate goal of each              ❚ New requirements for uni-         means, including email.
                                                                                 By U.S. mail, delivery, or courier: Oakfabco, Inc. Balloting Agent, c/o Logan &
                                                                                                                                                                           The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this notice with
                                                                                                                                                                       anyproofofclaimorotherﬁlinginthecases.
game oﬃcial and each oﬃciat-         forms.                                              Company, Inc., 546 Valley Road, Upper Montclair, NJ 07043
                                                                                  6. What to Do if You Did Not Receive a Solicitation Package. If you believe
                                                                                                                                                                           1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation,77 Beale Street,P.O.Box
ing crew is to get the call cor-           ❚ A change in the deﬁnition
                                                                                                                                                                       77000, San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc Gas and Electric Company, 77
                                                                               you may be entitled to vote on the Plan, but did not receive a Solicitation Package,    Beale Street,P.O.Box 77000,San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.
                                                                               you may obtain a Solicitation Package, and other key documents relating to the
rect,” said Todd Tharp, assis-         of a legal scrimmage.                   Debtor’s chapter 11 case by consulting the website referenced below or by contact-
                                                                                                                                                                           2. All other names used in the last 8 years: n/a
                                                                                                                                                                           3. Address: See above
tant director of the Iowa High             ❚ Tripping the runner is now
                                                                               ing the Balloting Agent at the telephone and/or address provided below.                     4. Debtors’ Attorneys: Tobias S.Keller (#151445),KELLER & BENvENUTTi LLP,650 California Street,Suite
                                                                                  7. Asbestos and Wrongful Death Claims. Proof of an Asbestos PI Claim does
                                                                                                                                                                       1900,San Francisco,CA 94108 -and- Stephen Karotkin (pro hac vice),WEiL,GOTSHAL & MANGES LLP,767 Fifth
School Athletic Association            prohibited.
                                                                               not have to be ﬁled with the Bankruptcy Court at this time. The Bankruptcy Court
                                                                               has established special procedures for holders of Asbestos PI Claims to vote on the     Avenue, New York, NY 10153. Debtors’ Claims and Noticing Agent: If you have questions about this
                                                                                                                                                                       notice, please contact Prime Clerk LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977
and chair of the NFHS Football             ❚ The horse-collar foul was         Plan. Lawyers for holders of Asbestos PI Claims may vote on the Plan on behalf of
                                                                               their clients if the lawyers are authorized to do so. If you are unsure whether your    (Int’l). Email: pgeinfo@primeclerk.com. Website: https://restructuring.primeclerk.com/pge
Rules Committee, in the report.        expanded to included the                lawyer is authorized to vote on your behalf, please contact your lawyer. Attorneys          5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San
                                                                               for the Debtor cannot give legal advice to Asbestos Claimants as to whether or not      Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT). Contact phone: 888-821-7606.
“Each state association, by in-        nameplate area.                         they should vote in favor of the Plan.
                                                                                  8. Hearing on Conﬁrmation of the Plan. A hearing (the “Conﬁrmation Hear-
                                                                                                                                                                       Documents in these cases may be ﬁled at this address.You may inspect all records ﬁled in these cases at this
                                                                                                                                                                       ofﬁce or online at www.pacer.com.
dividual adoption, can now use             ❚ A reduction in penalty for        ing”) on whether the Bankruptcy Court should enter an order Conﬁrming the Plan              6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip
                                                                                                                                                                       Burton Federal Building and U.S.Courthouse,450 Golden Gate Avenue,2nd Floor,California Conference Room,
replay or video monitoring dur-        illegally kicking or batting the
                                                                               will be held before the Honorable Jack B. Schmetterer, United States Bankruptcy
                                                                               Judge, at the United States Bankruptcy Court for the Northern District of Illinois,     San Francisco, CA 94102.The debtors’representative must attend the meeting to be questioned under oath.

ing its respective postseason          ball from 15 to 10 yards.
                                                                               Courtroom 682, 219 South Dearborn Street, Chicago, Illinois 60604, on March             Creditors may attend, but are not required to do so. The meeting may be continued or adjourned to a later
                                                                               28, 2019 at 10:30 a.m. You may attend the Conﬁrmation Hearing but are not               date.if so,the date will be on the court docket.
                                                                               required to do so. The Conﬁrmation Hearing may be continued from time to time               7. Proof of claim deadline: Deadline for ﬁling proof of claim:To Be Determined. A proof of claim
                                                                               without further notice to parties other than by such adjournment being announced        is a signed statement describing a creditor’s claim.A proof of claim form may be obtained at www.uscourts.
                                                                               in open court or by a notice of adjournment ﬁled with the Bankruptcy Court.             gov or any bankruptcy clerk’s ofﬁce.Your claim will be allowed in the amount scheduled unless: • your claim
                                                                                  9. Objections to Conﬁrmation of the Plan. Objections and responses, if any,          is designated as disputed, contingent, or unliquidated; • you ﬁle a proof of claim in a different amount; or
                                                                               to Conﬁrmation of the Plan must (i) be in writing, (ii) set forth in detail the name    • you receive another notice.If your claim is not scheduled or if your claim is designated as disputed, contin-



McConaughey huddles
                                                                               and address of any party ﬁling the objection, the grounds for the objection, any        gent, or unliquidated, you must ﬁle a proof of claim or you might not be paid on your claim and you might
                                                                               relevant and admissible evidence in support of the objection, and the amount of         be unable to vote on a plan.You may ﬁle a proof of claim even if your claim is scheduled.You may review the
                                                                               the objector’s claims or such other grounds that give the objector standing to assert   schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.Secured creditors retain rights in their
                                                                               the objection, (iii) conform to the Federal Rules of Bankruptcy Procedure and the       collateral regardless of whether they ﬁle a proof of claim. Filing a proof of claim submits a creditor to the
                                                                               Local Rules of the Bankruptcy Court, (iv) be ﬁled with the Bankruptcy Court, and        jurisdiction of the bankruptcy court,with consequences a lawyer can explain.For example,a secured creditor



up during Texas game
                                                                               (v) be served in accordance with the Local Rules upon the following parties so as to    who ﬁles a proof of claim may surrender important nonmonetary rights,including the right to a jury trial.
                                                                               be actually received on or before March 13, 2019: (i) counsel to the Debtor at Reed         8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a complaint if you
                                                                               Smith LLP, 10 S. Wacker Drive, 40th Floor, Chicago, IL 60606, Attention: Stephen        want to have a debt excepted from discharge under 11 U.S.C. § 1141(d)(6)(A).The bankruptcy clerk’s ofﬁce
                                                                               T. Bobo, Esq. (Facsimile: (312) 207-6480), and Reed Smith LLP, 225 Fifth Avenue,        must receive a complaint and any required ﬁling fee by the following deadline. Deadline for ﬁling the
                                                                               Suite 1200, Pittsburgh, PA 15222, Attention: Paul M. Singer, Esq. (Facsimile: (412)     complaint:ToBeDetermined
                                                                               288-3063); (ii) counsel to the Asbestos Claimants’ Committee at FrankGecker LLP,            9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a foreign address,
                                                                               1327 W. Washington Boulevard, Suite 5G-H, Chicago, IL 60607, Attention: Joseph          you may ﬁle a motion asking the court to extend the deadlines in this notice. Consult an attorney familiar
                                                                               D. Frank, Esq., Frances Gecker, Esq., and Micah R. Krohn, Esq. (Facsimile: (312)        with United States bankruptcy law if you have any questions about your rights in these cases.
                                       ing eﬀort as the program is slat-
                                                                               276-0035); and (iii) the Ofﬁce of the United States Trustee at 219 S. Dearborn St.,
Scott Gleeson                                                                  Room 873, Chicago, IL 60604. Registered users of the Bankruptcy Court’s case ﬁl-
                                                                                                                                                                           10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate
                                                                                                                                                                       according to a plan.A plan is not effective unless the court conﬁrms it.You may receive a copy of the plan and
USA TODAY                              ed to open a $338 million bas-
                                                                               ing system must electronically ﬁle their objections and responses. All other parties    a disclosure statement telling you about the plan,and you may have the opportunity to vote on the plan.You
                                                                               in interest must ﬁle their objections and responses in writing with the Clerk of the
                                                                                                                                                                       will receive notice of the date of the conﬁrmation hearing, and you may object to conﬁrmation of the plan
                                       ketball arena and entertain-            Bankruptcy Court, 219 South Dearborn Street, Chicago, Illinois, 60604. If you or
                                                                               your attorney does not ﬁle an objection, the Bankruptcy Court may conclude that         and attend the conﬁrmation hearing.Unless a trustee is serving,the debtors will remain in possession of the
   Dressed in a three-piece or-        ment facility in 2021. The new          you do not oppose Conﬁrmation of the Plan, and may enter an order conﬁrming             property and may continue to operate their business.
                                                                               the Plan by which you will be bound and which can modify your rights.                       11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of debts,which may
ange suit, Academy Award-              stadium will seat 10,000 and is            10. Additional Information. Copies of the Plan, the Disclosure Statement
                                                                               and other materials contained in the Solicitation Package, including a ballot to
                                                                                                                                                                       include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to
                                                                                                                                                                       collect the debt from the debtors except as provided in the plan. if you want to have a particular debt owed
winning actor Matthew McCo-            partially funded by ArenaCo, a          vote on the Plan, may be obtained by contacting the Debtor’s Balloting Agent,           to you excepted from the discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by
                                                                                                                                                                       ﬁling a complaint and paying the ﬁling fee in the bankruptcy clerk’s ofﬁce by the deadline.
naughey joined the Texas bas-          corporation in which McCo-
                                                                               (a) at http://www.loganandco.com, by navigating to the case information page for
                                                                               Oakfabco, Inc., (b) upon request by mail to Logan & Company, Inc., 546 Valley
ketball huddle on Tuesday              naughey is an investor.
                                                                               Road, Upper Montclair, New Jersey 07043, or (c) upon request by contacting the
                                                                               Balloting Agent by phone at (973) 509-3190, by facsimile at (973) 509-1131, or
night during the Longhorns’               “It’s time to raise the bar,”        by email at oakfabco@loganandco.com. Copies of the Plan and the Disclosure
                                                                               Statement also may be examined by interested parties between the hours of 9:00
game against Kansas State.
   McConaughey brieﬂy posed
                                       McConaughey said in the De-
                                       cember release announcing his
                                                                               a.m. and 4:30 p.m. (Central Time) at the ofﬁce of the Clerk of the Bankruptcy
                                                                               Court, United States Bankruptcy Court for the Northern District of Illinois, 219
                                                                               South Dearborn Street, Chicago, Illinois, 60604. To the extent any portion of
                                                                               this notice conﬂicts with the Plan or the Disclosure Statement, the terms of those
                                                                                                                                                                                     GET NOTICED!
                                                                                                                                                                          Advertise in USA TODAY’s Marketplace Today Classifieds!
as one of coach Shaka Smart’s          role as Minister of Culture. “It’s      documents shall control over this notice.
                                                                                                                                                                                                       Call:1-800-397-0070
assistants by listening in dur-        time for an authentic home-
                                                                               Dated: January 16, 2019, Chicago, Illinois

ing huddles in Texas’ 71-64 loss       court advantage for our Long-
to the ﬁrst-place Wildcats.           horn basketball teams.”
McConaughey, a 1993 Texas                 He added on “The Late Show
alum, was tabbed the univer-           With Stephen Colbert” last
sity’s “Minister of Culture” in        month that his goal is “to have
December.                              that arena be the last place any
   The actor’s role is to help
“create a fan experience unlike
                                       visiting basketball team wants
                                       to play and the ﬁrst place that
                                                                                  ONE CALL
                                                                                                                                                                                   Call Today! (800) 397-0070
any other,” according to the
university. It’s part of a market-
                                       any world-class large band act
                                       does want to play.”
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                                  Case: 19-30088           Doc# 522-1          Filed: 02/20/19                       Entered: 02/20/19 18:38:39                                               Page 9
                                                                                        of 13
                                   Exhibit D




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                                       of 13
Case: 19-30088   Doc# 522-1   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 11
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Case: 19-30088   Doc# 522-1   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 12
                                       of 13
                                                                                                                                                                                                                                                            A4 T H U R S DAY, F E B RUARY 14 , 2 019 E S T                                                             S                                                                                                                                                                          L AT I M ES . C O M




                                                                                                                                                                                                                                                            Iran suicide bombing kills elite troops
                                                                                                                                                                                                                                                                                                                      Authorities believe the                                                                                                                              called for a change of govern-                      murderous terrorists.”
                                                                                                                                                                                                                                                            Attack in poor region                                 attacker drove up next to the                                                                                                                            ment in Iran. The protest                               Jaish al-Adl, whose name
                                                                                                                                                                                                                                                                                                                  bus before detonating a car                                                                                                                              was organized by the Na-                            means “Army of Justice,” is
                                                                                                                                                                                                                                                            near Pakistan leaves                                  bomb, according to the                                                                                                                                   tional Council of Resistance                        an offshoot of the still-active
                                                                                                                                                                                                                                                            27 dead and 13 injured.                               semiofficial    Fars    News                                                                                                                             of Iran. The council is linked                      militant Jundallah separat-
                                                                                                                                                                                                                                                                                                                  Agency.                                                                                                                                                  to the Mujahedin Khalq, an                          ist group from Sistan and
                                                                                                                                                                                                                                                            Sunni extremist group                                     Jaish al-Adl came to                                                                                                                                 Iranian exile group that has                        Baluchistan,        Tabatabai
                                                                                                                                                                                                                                                            claims responsibility.                                prominence in recent years                                                                                                                               long sought to topple the                           said.
                                                                                                                                                                                                                                                                                                                  claiming to fight oppression                                                                                                                             government in Tehran and                                Jaish al-Adl is just one of
                                                                                                                                                                                                                                                            By Melissa Etehad                                     against the Sunni minority                                                                                                                               enjoys support among some                           several extremist groups in
                                                                                                                                                                                                                                                            and Ramin Mostaghim                                   in the southeastern prov-                                                                                                                                members of the Trump ad-                            the province, Tabatabai
                                                                                                                                                                                                                                                                                                                  ince.                                                                                                                                                    ministration.                                       said, with members of Iran’s
                                                                                                                                                                                                                                                                                                                      An overwhelming major-                                                                                                                                   Iranian Foreign Minister                        armed forces patrolling
                                                                                                                                                                                                                                                                TEHRAN — A suicide                                ity of Iran’s population is                                                                                                                              Mohammad Javad Zarif                                there facing numerous ter-
                                                                                                                                                                                                                                                            bombing killed 27 of Iran’s                           Shiite Muslim, but about 9%                                                                                                                              sought to link the attack                           rorist attacks in recent
                                                          This electronic tearsheet confirms the ad appeared in the Los Angeles Times on the date and page indicated. You may not create derivative works,or in any way exploit or repurpose any content.




                                                                                                                                                                                                                                                            elite Islamic Revolutionary                           of the nation is Sunni. Many                                                                                                                             with the conference in a                            years. The area is one of the
                                                                                                                                                                                                                                                            Guard members and injured                             in the minority sect live in                                                                                                                             tweet: “Is it no coincidence                        most underdeveloped parts
                                                                                                                                                                                                                                                            13 others shortly after sunset                        the impoverished outlying                                                                                                                                that Iran is hit by terror on                       of Iran, she said.
Section/Page/Zone: MAIN/A004/EAST




                                                                                                                                                                                                                                                            Wednesday in the country’s                            areas of Iran and say they                                                                                                 Fars News Agency              the very day that #Warsaw-                              “There are few jobs and
                                                                                                                                                                                                                                                            southeast, according to                               face discrimination, poverty                             A SUICIDE bomber attacked a bus carrying Revolu-                                                Circus begins? Especially                           not many opportunities, so
                                                                                                                                                                                                                                                            state media.                                          and a lack of opportunity.                               tionary Guard members, Fars News Agency said.                                                   when cohorts of same ter-                           it creates an environment
                                                                                                                                                                                                                                                                The Sunni Muslim ex-                                  “The group has become                                                                                                                                rorists cheer it from Warsaw                        where terrorist groups can
                                                                                                                                                                                                                                                            tremist group Jaish al-Adl                            pretty famous in Iran,” Ari-                             lution, which is a time when      ousted a secular pro-West-                                    streets & support it with                           recruit people easily,” Taba-
                                                                                                                                                                                                                                                            claimed responsibility for                            ane Tabatabai, an associate                              Iran wants to showcase its        ern monarchy and replaced                                     twitter bots?”                                      tabai said.
                                                                                                                                                                                                                                                            the attack on a bus carrying                          political scientist at Rand                              military power.”                  it with the Islamic Republic.                                     Bahram       Qasemi,     a                          Jaish al-Adl has targeted
                                                                                                                                                                                                                                                            guard members who had                                 Corp., said of Jaish al-Adl.                                The attack came two                It also came on the first                                 spokesman for the Foreign                           members of Iran’s armed
                                                                                                                                                                                                                                                            just finished patrolling in                           “What makes Wednesday’s                                  days after thousands of Ira-      day of a U.S.-led Mideast                                     Ministry, condemned the su-                         forces for kidnappings or
                                                                                                                                                                                                                                                            Sistan and Baluchistan                                attack unique is that it’s                               nians commemorated the            conference in Warsaw. Out-                                    icide bombing and said offi-                        deadly attacks. The group
                                                                                                                                                                                                                                                            province near the border                              happening in the middle of                               40th anniversary of the Is-       side the conference, hun-                                     cials and Iran’s military                           has also demanded the gov-
                                                                                                                                                                                                                                                            with Pakistan.                                        the anniversary of the revo-                             lamic Revolution, which           dreds of demonstrators                                        would “take revenge on the                          ernment release its jailed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               members.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   In    2013,    authorities
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               hanged 16 people in retalia-



                                                                                                                                                                                                                                                            Prominent Philippine journalist arrested
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               tion for the killing of 14 bor-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               der guards who were am-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               bushed near Pakistan.Fars
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               said they were linked to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               groups hostile to Iran’s polit-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ical system.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Rappler and Ressa has now                               In 2014, Jaish al-Adl kid-
                                                                                                                                                                                                                                                            Award-winning Maria                                                                                                                                                                                            reached a critical and alarm-                       napped five members of the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ing juncture,” Shawn Cri-                           Revolutionary Guard in the
                                                                                                                                                                                                                                                            Ressa, a critic of                                                                                                                                                                                             spin, the Committee to Proj-                        same border region, accord-
Client Name:




                                                                                                                                                                                                                                                            President Duterte,                                                                                                                                                                                             ect     Journalists’    senior                      ing to state media. Four of
Description:




                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Southeast Asia representa-                          the guards were released in
                                                                                                                                                                                                                                                            faces a libel charge.
Advertiser:




                                                                                                                                                                                                                                                                                                                                                                                                                                                                           tive, said in a statement. “We                      Pakistan two months later,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           call on Filipino authorities to                     but the fifth had been ex-
                                                                                                                                                                                                                                                            By David Pierson                                                                                                                                                                                               immediately release Ressa,                          ecuted, state media said.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           drop this spurious cyber li-                        The group kidnapped 12 Ira-
                                                                                                                                                                                                                                                                SINGAPORE — Maria                                                                                                                                                                                          bel charge, and cease and                           nian border guards in Octo-
                                                                                                                                                                                                                                                            Ressa, a veteran Philippine                                                                                                                                                                                    desist this campaign of in-                         ber, according to state me-
                                                                                                                                                                                                                                                            journalist and frequent tar-                                                                                                                                                                                   timidation aimed at silenc-                         dia. Five were later freed,
                                                                                                                                                                                                                                                            get of the country’s presi-                                                                                                                                                                                    ing Rappler.”                                       Fars reported.
                                                                                                                                                                                                                                                            dent, was arrested Wednes-                                                                                                                                                                                         Rappler is credited with                            The         Revolutionary
                                                                                                                                                                                                                                                            day and charged with cyber                                                                                                                                                                                     dogged        reporting     on                      Guard was formed by Shiite
                                                                                                                                                                                                                                                            libel.                                                                                                                                                                                                         Duterte’s so-called war on                          cleric Ayatollah Ruhollah
                                                                                                                                                                                                                                                                Ressa, who garnered in-                                                                                                                                                                                    drugs, which has resulted in                        Khomeini shortly after the
                                                                                                                                                                                                                                                            ternational recognition last                                                                                                                                                                                   the deaths of thousands of                          1979 revolution and is dis-
                                                                                                                                                                                                                                                            year when she was among                                                                                                                                                                                        mostly poor Filipinos.                              tinct from the regular mili-
                                                                                                                                                                                                                                                            several reporters named                                                                                                                                                                                            Ressa is the recipient of                       tary. In its early days, the
                                                                                                                                                                                                                                                            Time magazine’s Person of                                                                                                                                                                                      last year’s Knight Interna-                         guard was made up of desti-
                                                                                                                                                                                                                                                            the Year, was already facing                                                                                                                                                                                   tional Journalism Award                             tute young men from urban
                                                                                                                                                                                                                                                            charges of tax evasion in                                                                                                                                                                                      and the Committee to Pro-                           areas who were used to
                                                                                                                                                                                                                                                            what critics said was an at-                                                                                                                                                                                   tect Journalists’ Gwen Ifill                        clamp down on critics of the
                                                                                                                                                                                                                                                            tempt to stifle critical re-                                                                                                                                                                                   Press Freedom Award.                                revolution.
                                                                                                                                                                                                                                                            porting of President Rod-                                                                                                                                                                                          In the Philippines, how-                            The         Revolutionary
                                                                                                                                                                                                                                                            rigo Duterte.                                                                                                                                                                                                  ever, her site is treated as a                      Guard, numbering about
                                                                                                                                                                                                                                                                Ressa, the chief executive                                                                                                                                                                                 pariah by the Duterte ad-                           125,000 members, now plays
                                                                                                                                                                                                                                                            and executive editor of the                                                                                                                                                                                    ministration and its sup-                           a major political and econo-
                                                                                                                                                                                                                                                            news site Rappler, was ar-                                                                                                                                                                                     porters. Rappler’s reporters                        mic role in Iran.
                                                                                                                                                                                                                                                            rested at the news outlet’s                                                                                                                                                                                    have been barred from cov-
                                                                                                                                                                                                                                                            Manila headquarters by                                                                                                                                                                                         ering presidential events                           Special correspondent
                                                                                                                                                                                                                                                            plainclothes officers from                                                                                                                                                                                     and are the frequent subject                        Mostaghim reported from
                                                                                                                                                                                                                                                            the National Bureau of In-                                                                                                                                                                                     of death threats.                                   Tehran and Times staff
                                                                                                                                                                                                                                                            vestigation, the news site                                                                                                                                                                                         The Manila-based Cen-                           writer Etehad from Los
Insertion Number:




                                                                                                                                                                                                                                                            reported. Authorities also                                                                                                                                                                                     ter for Media Freedom and                           Angeles.
                                                                                                                                                                                                                                                            charged former Rappler re-                                                                                                                                                                                     Responsibility says condi-
                                                                                                                                                                                                                                                            searcher Reynaldo Santos                                                                                                                                                                                       tions have deteriorated for
                                                                                                                                                                                                                                                            Jr.                                                                                                                                                                                                            journalists under Duterte’s
                                                                                                                                                                                                                                                                The libel charge stems                                                                                                                                                                                     presidency, in which charges
                                                                                                                                                                                                                                                            from a story published in                                                                                                                          Alecs Ongcal EPA/Shutterstock                               of spreading “fake news”                            FOR THE
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                                                                                                                                                                                                                                                            May 2012, more than four                              VETERAN JOURNALIST Maria Ressa is accused of cyber libel for a story pub-                                                                                have been leveled at inde-                          RECORD
                                                                                                                                                                                                                                                            months before the law Ressa                           lished in May 2012, more than four months before the cyber libel law was enacted.                                                                        pendent reporting.
                                                                                                                                                                                                                                                            and Santos are accused of                                                                                                                                                                                          Twelve reporters have                           If you believe that we have
                                                                                                                                                                                                                                                            violating was enacted.                                after being charged with tax                                 The National Bureau of           Presidential spokesman                                     been killed since Duterte                           made an error, or you
                                                                                                                                                                                                                                                                The story, which was                              evasion.                                                 Investigation could not be        Salvador Panelo said on na-                                   took power in 2016, the group                       have questions about The
                                                                                                                                                                                                                                                            about an impeached chief                                  “We are not intimidated.                             reached for comment.              tional television that Ressa’s                                said.                                               Times’ journalistic stand-
Size:




                                                                                                                                                                                                                                                            justice, included details                             No amount of legal cases,                                    The crime of cyber libel      arrest was in accordance                                          “Everyone who values                            ards and practices, you
                                                                                                                                                                                                                                                            about businessman Wil-                                black propaganda and lies                                was introduced as part of a       with the law.                                                 press freedom and free ex-                          may contact the readers’
                                                                                                                                                                                                                                                            fredo D. Keng, who filed the                          can silence Filipino journal-                            controversial law aimed at           “There’s nothing to do                                     pression needs to call Presi-                       representative by email
                                                                                                                                                                                                                                                            libel complaint for being de-                         ists who continue to hold the                            primarily stamping out on-        with freedom of expression                                    dent Rodrigo Duterte to ac-                         at readers.representative@
                                                                                                                                                                                                                                                            scribed as having links to hu-                        line,” Ressa said in a state-                            line fraud and child pornog-      or freedom of the press,” he                                  count for this latest and                           latimes.com, by phone at
                                                                                                                                                                                                                                                            man trafficking and illicit                           ment. “These legal acro-                                 raphy, but which critics said     said.                                                         most brazen assault on                              (877) 554-4000 or by mail
                                                                                                                                                                                                                                                            drugs.                                                batics show how far the gov-                             was fashioned to control dis-        Still, the arrest drew im-                                 the very values that make                           at 2300 E. Imperial Highway,
                                                                                                                                                                                                                                                                It was unclear late                               ernment will go to silence                               sent against the government       mediate        condemnation                                   possible the building of a                          El Segundo, CA 90245.
                                                                                                                                                                                                                                                            Wednesday whether Ressa                               journalists, including the                               on the internet. Conviction       from free press advocates.                                    free society,” the center said                      The readers’ represent-
                                                                                                                                                                                                                                                            would be permitted to post                            pettiness of forcing me to                               of cyber libel can result in up      “The Philippine govern-                                    in response to Ressa’s ar-                          ative office is online at
                                                                                                                                                                                                                                                            bail, as she did in December                          spend the night in jail.”                                to 12 years in prison.            ment’s legal harassment of                                    rest.                                               latimes.com/readersrep.
                           Publication Date: 02/14/2019




                                                                                                                                                                                                                                                                               United States Bankruptcy Court for the Northern District of California
                                                                                                                                                                                                                                                            Debtors: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                                                                                                                                                                            Date cases filed in chapter 11: 01 / 29 / 2019
                                                                                                                                                                                                                                                                                                                                                                                WORRIED ABOUT                                                                                            How to contact us
                                                                                                                                                                                                                                                            Case number: 19-30088 (DM) (Lead Case; Jointly Administered)

                                                                                                                                                                                                                                                                                                                                                                                WHAT YOU ARE
                                                                                                                                                                                                                                                            Notice of Chapter 11 Bankruptcy Cases                                                                                                                                                                                                         (800) LA TIMES
                                                                                                                                                                                                                                                                For the debtors listed above, cases have been filed under chapter 11 of the Bankruptcy Code


                                                                                                                                                                                                                                                                                                                                                                                FORGETTING?
                                                                                                                                                                                                                                                            and orders for relief have been entered. This notice has important information about the cases for
                                                                                                                                                                                                                                                            creditors, debtors, and trustees, including information about the meeting of creditors and deadlines.                                                                                                            Home Delivery and                                 advertising information, go to
                                                                                                                                                                                                                                                                The filing of the cases imposed an automatic stay against most collection activities. This means                                                                                                             Membership Program                                latimes.com/mediakit or call
                                                                                                                                                                                                                                                            that creditors generally may not take action to collect debts from the debtors or the debtors’                                                                                                                   For questions about delivery,                     (213) 237-6176.
                                                                                                                                                                                                                                                            property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess                                                                                                         billing and vacation holds, or
                                                                                                                                                                                                                                                            property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from the                  Help us research an investigational drug.                                                    for information about our                         Reprint Requests
                                                                                                                                                                                                                                                            debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Membership program, please                        For the rights to use articles,
                                                                                                                                                                                                                                                            and punitive damages and attorney’s fees.                                                                                                                                                                                                                          photos, graphics and page
                                                                                                                                                                                                                                                                Confirmation of a chapter 11 plan may result in a discharge of debt.A creditor who wants to have                                                                                                             contact us at (213) 283-2274 or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             membershipservices@                               reproductions, e-mail
                                                                                                                                                                                                                                                            a particular debt excepted from discharge may be required to file a complaint in the bankruptcy
                                                                                                                                                                                                                                                            clerk’s office within the deadline specified in this notice. (See line 11 below for more information.)            The TRAILBLAZER-ALZ Study is looking at                                                        latimes.com. You can also                         reprint@latimes.com or call
                                                                                                                                                                                                                                                                To protect your rights, consult an attorney. All documents filed in the cases may be inspected                                                                                                                                                                 (213) 237-4565.
                                                                                                                                                                                                                                                            at the bankruptcy clerk’s office at the address below or through PACER (Public Access to Court                    an investigational drug for people having problems                                             manage your account at
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             myaccount.latimes.com.                            Times In Education
                                                                                                                                                                                                                                                            Electronic Records at www.pacer.gov).
                                                                                                                                                                                                                                                                The staff of the bankruptcy clerk’s office cannot give legal advice. Do not file this notice
                                                                                                                                                                                                                                                                                                                                                                              with memory loss or confusion. This clinical                                                                                                     To get The Times, and our
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Letters to the Editor
                                                                                                                                                                                                                                                            with any proof of claim or other filing in the cases.
                                                                                                                                                                                                                                                                1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street,
                                                                                                                                                                                                                                                                                                                                                                              research study will examine if the investigational                                             Want to write a letter to be                      newspaper-based teaching
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             published in the paper and                        materials, delivered to
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               contact us at latimes.com/tie
                                                                                                                                                                                                                                                            (DM), XX-XXXXXXX.                                                                                                 people with early stages of Alzheimer’s disease.                                               letters@latimes.com.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               or call (213) 237-2915.
                                                                                                                                                                                                                                                                2. All other names used in the last 8 years: n/a                                                                                                                                                             For submission guidelines,
                                                                                                                                                                                                                                                                3. Address: See above
                                                                                                                                                                                                                                                                4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650 California                    You may be able to take part if you:                                                           see latimes.com/letters.                          The Newsroom
                                                                                                                                                                                                                                                            Street, Suite 1900, San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEiL,                                                                                                                         Readers’ Representative                           Have a story tip or
                                                                                                                                                                                                                                                            GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY 10153. Debtors’ Claims and Noticing                          • are 60–85 years of age                                                                       If you believe we have                            suggestion? Go to a
                                                                                                                                                                                                                                                            Agent: If you have questions about this notice, please contact Prime Clerk LLC. Contact                                                                                                                                                                            newsroom directory at
                                                                                                                                                                                                                                                            Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@primeclerk.                          • have had memory loss for 6 months or more that                                               made an error, or you have
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             questions about our                               latimes.com/staff or
                                                                                                                                                                                                                                                            com. Website: https://restructuring.primeclerk.com/pge
                                                                                                                                                                                                                                                                5. Bankruptcy clerk’s office: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box                           has become gradually worse over time                                                         journalistic standards                            latimes.com/newstips or call
                                                                                                                                                                                                                                                            36099, San Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT). Contact                                                                                                                       and practices, our readers’                       (213) 237-7001.
                                                                                                                                                                                                                                                            phone: 888-821-7606. Documents in these cases may be filed at this address. You may inspect                       • have a family member or close friend who is with                                             representative can be                             Media Relations
                                                                                                                                                                                                                                                            all records filed in these cases at this office or online at www.pacer.com.
                                                                                                                                                                                                                                                                6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location:                            you at least 10 hours per week and can attend                                                reached at                                        For outside media requests
                                                                                                                                                                                                                                                            Phillip Burton Federal Building and U.S. Courthouse, 450 Golden Gate Avenue, 2nd Floor, California                                                                                                               readers.representative                            and inquiries, e-mail
                                                                                                                                                                                                                                                            Conference Room, San Francisco, CA 94102. The debtors’ representative must attend the meet-                         study appointments with you.                                                                 @latimes.com, (877) 554-4000                      commsdept@latimes.com.
                                                                                                                                                                                                                                                            ing to be questioned under oath. Creditors may attend, but are not required to do so. The meeting                                                                                                                or online at
                                                                                                                                                                                                                                                            may be continued or adjourned to a later date. if so, the date will be on the court docket.                                                                                                                                                                        L.A. Times Store
                                                                                                                                                                                                                                                                7. Proof of claim deadline: Deadline for filing proof of claim: To Be Determined. A proof of                  The study will last for up to 2 years and 7 months.                                            latimes.com/readersrep.
                                                                                                                                                                                                                                                            claim is a signed statement describing a creditor’s claim. A proof of claim form may be obtained
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Search archives, merchandise
                                                                                                                                                                                                                                                            at www.uscourts.gov or any bankruptcy clerk’s office. Your claim will be allowed in the amount
                                                                                                                                                                                                                                                                                                                                                                              About 266 people from the United States and                                                    Advertising                                       and front pages at
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             For print and online                              latimes.com/store.
                                                                                                                                                                                                                                                            scheduled unless: • your claim is designated as disputed, contingent, or unliquidated; • you
                                                                                                                                                                                                                                                            file a proof of claim in a different amount; or • you receive another notice. If your claim is not
                                                                                                                                                                                                                                                                                                                                                                              Canada will participate. All study-related care will
                                                                                                                                                                                                                                                            scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must file                  be provided at no cost.
                                                                                                                                                                                                                                                            a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                                                                                                                                                                                                                                            plan. You may file a proof of claim even if your claim is scheduled. You may review the schedules
                                                                                                                                                                                                                                                            at the bankruptcy clerk’s office or online at www.pacer.gov. Secured creditors retain rights in
                                                                                                                                                                                                                                                            their collateral regardless of whether they file a proof of claim. Filing a proof of claim submits a              Want to know more?                                                                                                           Founded Dec. 4, 1881
                                                                                                                                                                                                                                                            creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For                                                                                                                                              Vol. CXXXVIII No. 73
                                                                                                                                                                                                                                                            example, a secured creditor who files a proof of claim may surrender important nonmonetary                        If you would like to learn more, please contact:
                                                                                                                                                                                                                                                            rights, including the right to a jury trial.                                                                                                                                                                     LOS ANGELES TIMES (ISSN 0458-3035)                annually.
                                                                                                                                                                                                                                                                8. Exception to discharge deadline: You must start a judicial proceeding by filing a complaint if                                                                                                            is published by the Los Angeles Times,            Print-only rates:
                                                                                                                                                                                                                                                            you want to have a debt excepted from discharge under 11 U.S.C. § 1141(d)(6)(A). The bankruptcy                                                                                                                  2300 E. Imperial Highway, El Segundo,             Seven-day $1,144 annually.
                                                                                                                                                                                                                                                            clerk’s office must receive a complaint and any required filing fee by the following deadline.                                                                                                                   CA 90245. Periodicals postage is paid at          Thursday–Sunday $884 annually.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Los Angeles, CA, and additional cities.           Thursday & Sunday $364 annually.
                                                                                                                                                                                                                                                            Deadline for filing the complaint: To Be Determined
                                                                                                                                                                                                                                                                9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a foreign
                                                                                                                                                                                                                                                                                                                                                                                 Irvine Clinical Research                                                                    POSTMASTER: Send address changes to               Saturday & Sunday $364 annually.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             the above address.                                Sunday $364 annually.
                                                                                                                                                                                                                                                            address, you may file a motion asking the court to extend the deadlines in this notice. Consult an
                                                                                                                                                                                                                                                            attorney familiar with United States bankruptcy law if you have any questions about your rights
                                                                                                                                                                                                                                                                                                                                                                                 2515 McCabe Way                                                                             Home Delivery Subscription Rates (all             Monday–Saturday $936 annually (also
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             rates include applicable CA sales taxes           includes Sundays, except 2/17, 4/21, 9/1,
                                                                                                                                                                                                                                                            in these cases.
                                                                                                                                                                                                                                                                10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liq-                         Irvine, CA 92614                                                                            and apply to most areas)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Print + unlimited digital rates:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               and 10/27). Monday–Friday $884
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               annually.
                                                                                                                                                                                                                                                            uidate according to a plan. A plan is not effective unless the court confirms it. You may receive
                                                                                                                                                                                                                                                            a copy of the plan and a disclosure statement telling you about the plan, and you may have the                       1-877-289-7879                                                                              Seven-day $17/week, $884 annually.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Thursday–Sunday $16/week, $832
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Pricing for all subscriptions includes the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Thanksgiving 11/28 issue.
                                                                                                                                                                                                                                                            opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing,                                                                                                                annually. Thursday & Sunday                       All subscriptions may include up to five
                                                                                                                                                                                                                                                            and you may object to confirmation of the plan and attend the confirmation hearing. Unless a                                                                                                                     $6.99/week, $363.48 annually. Saturday            Premium issues per year. For each
                                                                                                                                                                                                                                                            trustee is serving, the debtors will remain in possession of the property and may continue to                                                                                                                    & Sunday $6.99/week, $363.48 annually.            Premium issue, your account balance
                                                                                                                                                                                                                                                            operate their business.                                                                                                                                  Print Advertisement (large), 6 Feb 2018 [V01 USA]       Sunday $6.99/week, $363.48 annually.              will be charged an additional fee up to
                                                                                                                                                                                                                                                                11. Discharge of debts: Confirmation of a chapter 11 plan may result in a discharge of debts,                                                                                                                Monday–Saturday $16/week, $832                    $4.49, in the billing period when the
                                                                                                                                                                                                                                                            which may include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that                                                                                                                      annually (also includes Sundays, except           section publishes. This will result in
                                                                                                                                                                                                                                                            creditors may never try to collect the debt from the debtors except as provided in the plan. if you                                                                                                              2/17, 4/21, 9/1, and 10/27).                      shortening the length of your billing
                                                                                                                                                                                                                                                            want to have a particular debt owed to you excepted from the discharge under 11 U.S.C. § 1141(d)                                                                                                                 Monday–Friday $16/week, $832                      period.
                                                                                                                                                                                                                                                            (6)(A), you must start a judicial proceeding by filing a complaint and paying the filing fee in the
                                                                                                                                                                                                                                                            bankruptcy clerk’s office by the deadline.                                                                                                                                                                                                   Printed with soy-based ink on recycled newsprint from wood byproducts.


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